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 1    ROB BONTA
      Attorney General of California
 2    THOMAS S. PATTERSON
      Senior Assistant Attorney General
 3    ANYA BINSACCA
      JOHN D. ECHEVERRIA
 4    MARISSA MALOUFF
      JAMES E. STANLEY
 5    Supervising Deputy Attorneys General
      NICHOLAS ESPÍRITU
 6    STEVEN KERNS
      JANE REILLEY
 7    MEGAN RICHARDS
      MEGHAN H. STRONG
 8    Deputy Attorneys General
       455 Golden Gate Ave.
 9     San Francisco, CA 94102
       Telephone: (415) 510-3877
10     E-mail: Meghan.Strong@doj.ca.gov
      Attorneys for Plaintiffs
11

12                          IN THE UNITED STATES DISTRICT COURT

13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

14

15

16
      GAVIN NEWSOM, IN HIS OFFICIAL
17    CAPACITY AS GOVERNOR OF THE STATE OF
      CALIFORNIA; STATE OF CALIFORNIA,                  NO. 3:25-cv-04870-CRB
18
                                        Plaintiffs, DECLARATION MEGHAN H. STRONG
19                                                  IN SUPPORT OF PLAINTIFFS’
                   v.                               MOTION FOR PRELIMINARY
20                                                  INJUNCTION

21    DONALD TRUMP, IN HIS OFFICIAL                     Judge:        Hon. Charles R. Breyer
      CAPACITY AS PRESIDENT OF THE UNITED               Trial Date: None Set
22    STATES; PETE HEGSETH, IN HIS OFFICIAL             Action Filed: June 9, 2025
      CAPACITY AS SECRETARY OF THE
23    DEPARTMENT OF DEFENSE; U.S.
      DEPARTMENT OF DEFENSE,
24
                                      Defendants.
25

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                                             STRONG DECL. ISO PLTFS’ MOTION FOR PRELIMINARY INJUNCTION
     Case 3:25-cv-04870-CRB          Document 77-1          Filed 06/16/25     Page 2 of 187



 1          I, Meghan H. Strong, declare under penalty of perjury that the following is true and correct:

 2             1.    I am an attorney licensed to practice law in the State of California, admitted to the

 3    bar of this Court, and a Deputy Attorney General in the Office of the Attorney General, California

 4    Department of Justice. The Attorney General is counsel to Plaintiffs Governor Gavin Newsom

 5    and the State of California. I make this declaration in support of Plaintiffs’ Motion for

 6    Preliminary Injunction.

 7             2.    I am over the age of 18 and have personal knowledge of all the facts stated herein,

 8    except to those matters stated upon information and belief; as to those matters, I believe them to

 9    be true. If called as a witness, I could and would testify competently to the matters set forth

10    below.

11             3.    Attached hereto as Exhibit 1 is a true and correct copy of an October 12, 2020

12    news article authored by Hayley Smith, Richard Winton, Kevin Rector and Ruben Vives and

13    published by the Los Angeles Times, entitled At least 76 arrested in L.A. after Lakers'

14    championship win, available on the Los Angeles Times official website at

15    https://www.latimes.com/california/story/2020-10-12/76-arrested-in-downtown-la-following-

16    lakers-win.

17             4.    Attached hereto as Exhibit 2 is a true and correct copy of an October 31, 2024

18    news article authored by Jaysha Patel and Anabel Munoz and published by the ABC 7 Eyewitness

19    News, entitled Several arrests made after violence, looting breaks out following Dodgers' win,

20    available on the ABC 7 Eyewitness News’s official website at https://abc7.com/post/several-

21    arrests-made-after-violence-looting-breaks-los-angeles-following-dodgers-world-series-

22    win/15492082/.

23             5.    Attached hereto as Exhibit 3 is a true and correct copy of a May 14, 2025 news

24    article authored by the Fox 11 Digital News Team and published by Fox 11 News, entitled 239

25    ICE arrests made in Los Angeles during week-long operation, available on Fox 11 News’ official

26    website at https://www.foxla.com/news/239-ice-arrests-made-los-angeles-during-week-long-

27    operation.

28             6.    Attached hereto as Exhibit 4 is a true and correct copy of a June 6, 2025 news
                                                        2
                                                  STRONG DECL. ISO PLTFS’ MOTION FOR PRELIMINARY INJUNCTION
     Case 3:25-cv-04870-CRB          Document 77-1          Filed 06/16/25     Page 3 of 187



 1    article authored by Tom Bowman and Ximena Bustillo published by National Public Radio,

 2    entitled DHS memo details how National Guard troops will be used for immigration enforcement,

 3    available on National Public Radio’s official website at https://www.npr.org/2025/06/06/nx-s1-

 4    5425421/dhs-national-guard-immigration-enforcement.

 5           7.       Attached hereto as Exhibit 5 is a true and correct copy of a printout of the Los

 6    Angeles Sheriff Department Information Bureau’s webpage post on June 7, 2025, entitled

 7    Sheriff's Department Statement Regarding Civil protest activity in the City of Paramount,

 8    available on the Department of Information Bureau’s official website at

 9    https://local.nixle.com/alert/11646013/?sub_id=0.

10           8.       Attached hereto as Exhibit 6 is a true and correct copy of a June 8, 2025 news

11    article authored by Ruben Vives and Rachel Uranga and published by the Los Angeles Times,

12    entitled What really happened outside the Paramount Home Depot? The reality on the ground vs.

13    the rhetoric, available on the Los Angeles Times’s official website at

14    https://www.latimes.com/california/story/2025-06-08/what-actually-happened-at-the-paramount-

15    home-depot.

16           9.       Attached hereto as Exhibit 7 is a true and correct copy of a copy of a printout of

17    USNORTHCOM’s June 9, 2025, “USNORTHCOM statement on additional military personnel in

18    the Los Angeles Area”, available at USNORTHCOM’s official website at

19    https://www.northcom.mil/DesktopModules/ArticleCS/Print.aspx?PortalId=28&ModuleId=8526

20    &Article=4210889.

21           10.      Attached hereto as Exhibit 8 is a true and correct copy of a June 9, 2025 article

22    published by Governor Gavin Newsom’s office, containing an MSNBC interview of California

23    Governor Gavin Newsom, entitled Watch: Governor Newsom discusses ‘Donald Trump’s mess’

24    in Los Angeles, available on the Governor’s official website at

25    https://www.gov.ca.gov/2025/06/09/watch-governor-newsom-discusses-donald-trumps-mess-in-

26    los-angeles/.

27           11.      Attached hereto as Exhibit 9 is a true and correct copy of a June 9, 2025 news

28    article authored by Matthias Gafni, Cynthia Dizikes, Sophia Bollag, and Susan Neilson and
                                                        3
                                                  STRONG DECL. ISO PLTFS’ MOTION FOR PRELIMINARY INJUNCTION
     Case 3:25-cv-04870-CRB           Document 77-1        Filed 06/16/25     Page 4 of 187



 1    published by the San Francisco Chronicle, entitled Exclusive: DHS secretary sought military

 2    arrests and drones in Los Angeles in leaked letter, available on the San Francisco Chronicle’s

 3    official website at https://www.sfchronicle.com/us-world/article/noem-immigration-protests-

 4    letter-20369001.php.

 5            12.    Attached hereto as Exhibit 10 is a true and correct copy of the CBS correspondent

 6    Nidia Cavazos’ June 10, 2025, post on the social media site X containing a statement from a

 7    “senior ICE spokesperson” to CBS News that “[t]roops on the ground in Los Angeles are

 8    providing perimeter and personnel protection for our facilities and officers who are out on daily

 9    enforcement operations. They are providing security at federal facilities in the area and support

10    with transportation, as needed,” available on X’s official website at

11    https://x.com/NidiaCavazosTV/status/1932591323296772425.

12            13.    Attached hereto as Exhibit 11 is a true and correct copy of a June 11, 2025 news

13    article authored by Sonam Sheth and Gabe Whisnant and published by Newsweek, entitled

14    National Guard Commander Backtracks On Remark About Detaining Civilians available on

15    Newsweek’s official website at https://www.newsweek.com/national-guard-detaining-civilians-

16    los-angeles-protests-2084277.

17            14.    Attached hereto as Exhibit 12 is a true and correct copy of a June 11, 2025 news

18    article authored by Lolita C. Baldor and published by NBC News Los Angeles, entitled About

19    500 National Guard troops in LA are trained to accompany agents on immigration raids,

20    available on NBC Los Angeles’s official website at

21    https://www.nbclosangeles.com/news/national-international/national-guard-troops-temporarily-

22    detain-civilians-la-protests/3721732/.

23            15.    Attached hereto as Exhibit 13 is a true and correct copy of a June 11, 2025 news

24    article authored by Sarah Fortinsky and published by The Hill, entitled Bondi says California at

25    ‘good point’: ‘We’re not scared to go further’, available on The Hill’s official website at

26    https://thehill.com/homenews/state-watch/5344237-pam-bondi-los-angeles-protests-insurrection-

27    act/.

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     Case 3:25-cv-04870-CRB            Document 77-1        Filed 06/16/25    Page 5 of 187



 1            16.     Attached hereto as Exhibit 14 is a true and correct copy of a June 11, 2025 news

 2    article authored by Tara Suter and published by The Hill, entitled White House says 330

 3    immigrants arrested in L.A. since Friday, available on The Hill’s official website at

 4    https://thehill.com/homenews/administration/5345521-trump-ice-raids-arrests-immigrants/amp/.

 5            17.     Attached hereto as Exhibit 15 is a true and correct copy of a June 10, 2025 news

 6    article authored by Audrey Conklin and published by Fox News, entitled California sheriff says

 7    Newsom ‘encouraged’ LA riots as ICE arrests violent illegal aliens, available on Fox New’s

 8    official website at https://www.foxnews.com/us/california-sheriff-says-newsom-encouraged-la-

 9    riots-ice-arrests-violent-illegal-aliens.

10            18.     Attached hereto as Exhibit 16 is a true and correct copy of the U.S. Department of

11    Homeland Security’s June 10, 2025, post on the social media site X containing photos of people

12    arrested “in LA Today,” available on X’s official website at

13    https://x.com/ICEgov/status/1932617670727217298.

14            19.     Attached hereto as Exhibit 17 is a true and correct copy of a copy of a printout of

15    the U.S. Department of Homeland Security’s webpage entitled ICE Continues to Arrest Vicious

16    Illegal Alien Criminals as Rioters Continue to Disrupt Law Enforcement, available on the

17    Department of Homeland Security’s official website at

18    https://www.dhs.gov/news/2025/06/09/ice-continues-arrest-vicious-illegal-alien-criminals-rioters-

19    continue-disrupt-law.

20            20.     Attached hereto as Exhibit 18 is a true and correct copy of the U.S. Department of

21    Homeland Security’s June 9, 2025 post on the social media site X containing photos of people

22    “arrested in ICE’s Los Angeles Operation on Sunday” June 8, 2025, available on X’s official

23    website at https://x.com/DHSgov/status/1932198712081563945.

24            21.     Attached hereto as Exhibit 19 is a true and correct copy of a printout of the U.S.

25    Department of Homeland Security’s webpage entitled ICE Arrests Illegal Alien for Molotov

26    Cocktail Attack on Law Enforcement Caught on Video, available on the Department of Homeland

27    Security’s official website at https://www.dhs.gov/news/2025/06/11/ice-arrests-illegal-alien-

28    molotov-cocktail-attack-law-enforcement-caught-video.
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     Case 3:25-cv-04870-CRB           Document 77-1         Filed 06/16/25   Page 6 of 187



 1           22.     Attached hereto as Exhibit 20 is a true and correct copy of the U.S. Department of

 2    Homeland Security’s June 11, 2025 post on the social media site X containing the photo of a

 3    person arrested “June 10 in Los Angeles, despite widespread obstruction from demonstrators,”

 4    available on X’s official website at https://x.com/ICEgov/status/1932871706131247429.

 5           23.     Attached hereto as Exhibit 21 is a true and correct copy of a June 11, 2025 news

 6    article authored by Travis Schlepp and published by KTLA Los Angeles, entitled Video shows

 7    unmarked vehicles ram car in ICE arrest in east Los Angeles, available on KTLA’s official

 8    website at https://ktla.com/news/local-news/video-shows-unmarked-vehicles-ram-car-in-possible-

 9    ice-arrest-in-boyle-heights/.

10           24.     Attached hereto as Exhibit 22 is a true and correct copy of the U.S. Department of

11    Homeland Security’s June 13, 2025 post on the social media site X containing video footage of

12    “ICE Los Angles officers apprehending” people on June 12, 2025, in Los Angeles County,

13    available on X’s official website at https://x.com/ICEgov/status/1933580124978282951.

14           25.     Attached hereto as Exhibit 23 is a true and correct copy of a June 11, 2025 news

15    article authored by Luis Martinez and published by ABC News, entitled Photos show National

16    Guard with rifles on ICE enforcement missions, available on ABC’s official website at

17    https://abcnews.go.com/Politics/photos-show-national-guard-rifles-ice-enforcement-

18    missions/story?id=122729129.

19           26.     Attached hereto as Exhibit 24 is a true and correct copy of the U.S. Department of

20    Homeland Security’s June 12, 2025 post on the social media site X containing video footage of

21    Department of Homeland Security Secretary Kristi Noem confirming that ICE continued its

22    operations in Los Angeles “over this last week” and identifying that Federal Protective Service

23    and Border Patrol agents have aided ICE’s operations as part of a “whole of government

24    approach,” available on X’s official website at

25    https://x.com/DHSgov/status/1933226230079168544.

26           27.     Attached hereto as Exhibit 25 is a true and correct copy of the U.S. Marshal

27    Service Los Angeles’s June 13, 2025 post on the social media site X containing a photo of U.S.

28    Marshals “actively assisting [Department of Home Security] in immigration enforcement efforts
                                                        6
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     Case 3:25-cv-04870-CRB          Document 77-1         Filed 06/16/25    Page 7 of 187



 1    in the LA region,” available on X’s official website at

 2    https://x.com/USMSLosAngeles/status/1933733689206227330.

 3           28.     Attached hereto as Exhibit 26 is a true and correct copy of a June 13, 2025 news

 4    article authored by Josh DuBose and published by Fox 5 News, entitled DHS Secretary Kristi

 5    Noem attends ICE raid at Los Angeles County home, available on Fox 5 New’s official website at

 6    https://fox5sandiego.com/news/noem-attends-ice-raid-at-home-of-pregnant-california-mother/.

 7           29.     Attached hereto as Exhibit 27 is a true and correct copy of a June 13, 2025, op-ed

 8    authored by former Los Angeles Police Chief Michael R. Moore and published by the New York

 9    Times, entitled I Ran the L.A.P.D. I Know What Happens When Troops Are Sent to American

10    Cities., available on the New York Times’ official website at

11    https://www.nytimes.com/2025/06/13/opinion/lapd-troops-la-protests.html.

12           30.     Attached hereto as Exhibit 28 is a true and correct copy of the webpage on which

13    video of U.S. Homeland Security Secretary Kristi Noem stating that federal agents and the

14    “military” will continue to operate until they have “liberated” Los Angeles, as it is displayed on

15    and publicly available on the Associated Press’s YouTube channel,

16    https://www.youtube.com/live/AP1ENz15SUg?t=303s. Secretary Hoem’s comments begin

17    approximately at the five-minute, 30 second mark of the video.

18           31.     Attached hereto as Exhibit 29 is a true and correct copy of a June 14, 2025 news

19    article authored by Omar Younis, Brad Brooks, Phil Stewart and Idrees Ali and published by

20    Reuters, entitled US Marines make first detention in LA as more protests expected, available on

21    Reuters’ official website at https://www.reuters.com/world/us/trump-allowed-keep-national-

22    guard-los-angeles-more-protests-planned-2025-06-13/.

23           32.     Attached hereto as Exhibit 30 is a true and correct copy of a copy of a printout of

24    Cal Fire’s webpage entitled Current Emergency Incidents, available on Cal Fire’s official website

25    at https://www.fire.ca.gov/incidents.

26           33.     Attached hereto as Exhibit 31 is a true and correct copy of a June 14, 2025 news

27    article authored by Helen Jeong and published by NBC Los Angeles, entitled How mostly

28    peaceful ‘No Kings' rally in downtown LA suddenly turned chaotic, available on NBC Los
                                                       7
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     Case 3:25-cv-04870-CRB         Document 77-1          Filed 06/16/25    Page 8 of 187



 1    Angeles’s official website at https://www.nbclosangeles.com/news/local/how-mostly-peaceful-

 2    no-kings-rally-in-downtown-la-suddenly-turned-chaotic/3724550/.

 3           34.     Attached hereto as Exhibit 32 is a true and correct copy of a June 14, 2025 news

 4    article authored by Jennifer Calfas and published by The Wall Street Journal, entitled Arrests in

 5    Los Angeles Rose–And Then Fell–During Week of Protests, available on The Wall Street

 6    Journal’s official website at https://www.wsj.com/livecoverage/trump-protests-military-

 7    parade/card/arrests-in-los-angeles-rose-and-then-fell-during-week-of-protests-

 8    aGNKGJa7Hd74C1v3uaHY.

 9           35.     Attached hereto as Exhibit 33 is a true and correct copy of the White House’s

10    Official Rapid Response 47’s June 15, 2025 post on the social media site X containing President

11    Donald Trump’s social media post from Truth Social, available on X’s official website at

12    https://x.com/RapidResponse47/status/1934412489837400369.

13           36.     Attached hereto as Exhibit 34 is a true and correct copy of a June 15, 2025 news

14    article authored by Will Conybeare published by KTLA 5, entitled More than 500 arrests made

15    over 8 days of protests in Los Angeles: LAPD available on KTLA 5’s official website at

16    https://ktla.com/news/local-news/more-than-500-arrests-made-over-8-days-of-protests-in-los-

17    angeles/.

18           37.     Attached hereto as Exhibit 35 is a true and correct copy of a June 16, 2025 news

19    article authored by Tim Pulliam and Amanda Palacios published by ABC 7, entitled Several

20    people taken into custody during immigration raid at Santa Fe Springs Swap Meet, available on

21    ABC 7’s official website at https://abc7.com/post/several-people-taken-custody-during-

22    immigration-raid-santa-fe-springs-swap-meet/16753752/.

23           38.     Attached hereto as Exhibit 36 is a true and correct copy of a June 16, 2025 news

24    article authored by Amy Graff and published by The New York Times, entitled California’s

25    Wildfires Could Be Brutal This Summer, available on The New York Times’s official website at

26    https://www.nytimes.com/2025/06/16/weather/california-fire-season-

27    forecast.html?smid=nytcore-ios-share&referringSource=articleShare.

28           39.     Attached hereto as Exhibit 37 is a true and correct copy of a June 16, 2025 news
                                                       8
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     Case 3:25-cv-04870-CRB         Document 77-1          Filed 06/16/25    Page 9 of 187



 1    article authored by Maanvi Singh and published by The Guardian, entitled At Home Depot, Ice

 2    raids terrorize the workers who helped build LA: ‘They just come and grab you’, available on The

 3    Guardian’s official website at https://www.theguardian.com/us-news/2025/jun/16/home-depot-

 4    ice-raids-los-angeles.

 5           40.     Attached hereto as Exhibit 38 is a true and correct copy of a printout of the U.S.

 6    Immigration and Customs Enforcement’s webpage entitled Delegation of Immigration Authority

 7    Section 287(g) Immigration and Nationality Act, available on Immigration and Customs

 8    Enforcement’s official website at https://www.ice.gov/identify-and-arrest/287g.

 9          I declare under penalty of perjury under the laws of the United States that the foregoing is

10    true and correct.

11          Executed on June 16, 2025, at San Francisco, California.

12

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14                                                                     Meghan H. Strong
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Case 3:25-cv-04870-CRB   Document 77-1   Filed 06/16/25   Page 10 of 187




                            EXHIBIT 1
                  Case 3:25-cv-04870-CRB               Document 77-1          Filed 06/16/25        Page 11 of 187




                                                               CALIFORNIA




            At least 76 arrested in downtown L.A.
             following Lakers’ championship win




LAPD officers on horses clear the area near L.A. Live, declaring an unlawful assembly, after the Lakers’ win over the Miami Heat in the
NBA Finals.
 (Jason Armond / Los Angeles Times)



                               By Hayley Smith, Richard Winton, Kevin Rector and Ruben Vives

                                                Oct. 12, 2020 Updated 4:07 PM PT
At leastCase
         76 people were arrested in
             3:25-cv-04870-CRB      downtown
                                  Document 77-1LosFiled
                                                   Angeles  on Sunday
                                                        06/16/25  Pagenight following
                                                                      12 of 187
the Lakers’ NBA championship win, marking the latest confrontation between LAPD
officers and a large street crowd in a year already shaped by mass protests.


The Los Angeles Police Department said the alleged activities included vandalism,
unlawful assembly and failure to disperse after a crowd of more than 2,000
converged near Staples Center following the team’s 106-93 win against the Miami
Heat in Orlando, Fla., its 17th NBA championship title.


Chants of “Kobe, Kobe” were heard as fans paid tribute to Lakers great Kobe Bryant,
who died in a helicopter crash in January. But the celebratory mood quickly soured as
the scene devolved into another roving standoff between police in riot gear and
throngs of people on the street — some without masks despite the ongoing threat of
the COVID-19 pandemic.


Again, social media lit up with videos of police on skirmish lines driving crowds of
people along L.A. streets, at times by firing hard foam projectiles at them. Footage
captured flash-bang firecrackers and bottles being lobbed through the air in the
direction of police. There was an MTA bus taken over and people doing burnouts in
the street, sending rubber flying.
         Case 3:25-cv-04870-CRB              Document 77-1          Filed 06/16/25       Page 13 of 187




Fans gather near Staples Center on Sunday to celebrate the Lakers’ 106-93 victory over the Miami Heat in the NBA
Finals. (Jason Armond / Los Angeles Times)




Instead of protesters demanding justice and denouncing police brutality, as was seen
during huge demonstrations this summer, it was sports fans in happy — and in some
instances drunken and destructive — revelry, sour at police for halting their fun and
angry at the force being used to do it.


LAPD Chief Michel Moore took to Twitter to urge fans to “celebrate responsibly,” but
reports of vandalism and firecrackers began pouring in as the night wore on,
including about the Metro bus that was briefly set ablaze and a Starbucks that was
ransacked near 9th and Flower streets.


                      LAKERS

                      Photos from Lakers’ NBA championship victory over the Miami Heat
                      Oct. 11, 2020
By Monday
     Case morning,  the Starbucks
          3:25-cv-04870-CRB       was partially
                               Document 77-1 boarded      up, andPage
                                                Filed 06/16/25    cleaning
                                                                      14 of crews
                                                                            187
were out power-washing sidewalks and scrubbing graffiti off walls. Among more
obscure scrawling on windows, parking signs and the streets themselves were anti-
police messages and more remembrances of Bryant. Much of the damage was around
Olympic Boulevard and Hope Street, a short distance from Staples Center.


Mayor Eric Garcetti weighed in Monday afternoon, writing on Twitter that L.A. is
“thrilled” with the win and “grateful” to those who celebrated at home.


“Remember that gathering in big groups is still unsafe,” Garcetti wrote. “Vandalism
of businesses and public places, and causing harm to our officers will not be
tolerated.”


Steve Soboroff, a member of the civilian Police Commission that oversees the LAPD,
also tweeted, writing that “#realLakerfans” don’t vandalize stores or attack police
officers. “Disrespectful to @Lakers past and present,” Soboroff wrote.


Neither official acknowledged the members of the crowd who were wounded by
police.


Fans said the celebration turned violent when police responded by firing hard foam
and plastic projectiles at throngs of people after bottles and other items were thrown
by the crowd.


The LAPD confirmed that at least three people were injured by “less lethal
munitions” and were taken to area hospitals. Eight officers were also injured and
received medical treatment, and more than 30 buildings and establishments were
damaged, the department said.


Multiple social media reports appeared to show police firing projectiles. In one video,
a man screamed at police to help a woman who he said had been shot by one of their
rounds. In another, a reporter captured an officer firing a projectile right at him,
knocking the camera phone from his hands.
     Things have turned sour down
      Case 3:25-cv-04870-CRB       here
                             Document    at Staples
                                      77-1           Center. Page
                                             Filed 06/16/25  LAPD 15isoffiring
                                                                         187
     rubber bullets. #LakeShow fans started turning on police after they
       arrested a man in a Kobe jersey. pic.twitter.com/YK9wd0iAdW

                   — dylan stewart (@dylanstw__) October 12, 2020



The California Highway Patrol closed the Pico Boulevard and 9th Street offramps
from the 110 Freeway, as well as the Pico Boulevard offramp from the 10 Freeway,
until shortly after 1 a.m.


LAPD Deputy Chief Vito Palazzolo, who oversees the Central Bureau, which includes
downtown L.A., said “it was disappointing to see” so many revelers descend on
downtown.


“With COVID, we were hoping people would stay home.”


Palazzolo said stores were vandalized and scooters were strewn across streets when
he left downtown around 4 a.m.


“The place was a mess,” he said.
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A man holds up a Kobe Bryant Boulevard sign as fans celebrate after the Lakers’ win over the Miami Heat in the NBA
Finals. (Jason Armond / Los Angeles Times)




He noted police have already gathered some images of crimes being committed,
including the MTA bus being set on fire, and will be putting out photographs and
asking the public for help identifying suspects.


It’s not the first time a Lakers victory has resulted in unrest: Rowdy fans, violence
and property damage occurred after the team’s wins in 2000, 2009 and 2010, and the
department made dozens of arrests in the aftermath.


Palazzolo said that the department tried to act swiftly Sunday to avoid a repeat of the
past, and that more than 300 police officers were deployed after the final buzzer
declared the Lakers champions.


Fans said the celebration did not warrant what they viewed as a violent response
from the LAPD, regardless of champagne bottles being thrown, fireworks, cars doing
doughnuts and a procession of high-octane cars and trucks moving through
downtown.
A multimedia journalist for L.A. TACO
      Case 3:25-cv-04870-CRB          captured
                                 Document 77-1 at least
                                                Filed   one instance
                                                      06/16/25   Pagein
                                                                      17which
                                                                         of 187a
young man who confronted officers near a street corner was pushed by an officer to
the ground. The man seemingly lost consciousness as his head and body fell back
onto the sidewalk. He lay there motionless, while other people attempted to revive
him and eventually dragged him away.



   A LAPD officer pushes a young man to the ground on the corner of 9th
         and Flower. @LATACO pic.twitter.com/88xaWxM23n

               — Lexis-Olivier Ray (@ShotOn35mm) October 12, 2020



During a news briefing last week, L.A. County‘s health officer, Dr. Muntu Davis,
reminded Lakers fans that a championship victory should not supersede COVID-19
health guidelines.


“There always is that concern that people will gather, and I want to remind people
we’re still in the middle of a pandemic. We’re still seeing a high number of cases,”
Davis said.


The team returned to Los Angeles Monday after more than three months of living in
an isolated “bubble” near Orlando to prevent the spread of the virus, but the victory
parade that typically commemorates major sports wins probably will not happen this
year due to COVID-19 concerns.


Gov. Gavin Newsom said Monday some of the images coming out of Los Angeles after
the game were of “obvious concern as it relates to the transmission of the virus” and
urged fans to celebrate responsibly.


“We ask people to be cautious, to be mindful, as they celebrate this historic victory,
and celebrate one of the greatest basketball players that has ever lived, LeBron
James,” Newsom said.


The majority of people in the crowd did appear to wear face masks in compliance
with COVID-19 guidelines, but the LAPD’s attempts to make people follow other rules
fell flat.Case
           At least one person was hospitalized
                3:25-cv-04870-CRB               afterFiled
                                    Document 77-1     a firework  exploded
                                                           06/16/25        in his
                                                                      Page 18     hand.
                                                                              of 187


“We were hoping for better,” Palazzolo said, “but based on the previous
championship, we were ready.”


The events, however, revived questions about LAPD crowd control tactics after a
summer of clashes between police and protesters.




Fans gather near Staples Center to celebrate the Lakers’ NBA Finals win over the Miami Heat on Sunday.
 (Jason Armond/Los Angeles Times)




The LAPD was already facing a major lawsuit from Black Lives Matter-Los Angeles
and other activists and protesters over its use of projectiles during the summer
protests. The plaintiffs are seeking an injunction to block any future use of the
weapons on crowds, and their use Sunday night could bolster their claims that such
force is an ongoing threat to those who choose to gather in crowds in L.A.


Sunday’s events also raised new fiscal questions for the department given the $150-
million cut to the LAPD budget this year — which was predicated largely on the idea
that theCase
         savings would be securedDocument
             3:25-cv-04870-CRB    through 77-1
                                          overtime  reductions.
                                                Filed 06/16/25 Page 19 of 187


It wasn’t immediately clear what the financial cost to the department was on Monday.
Given the reduction to its multibillion-dollar budget, the LAPD has slashed overtime
spending dramatically this year — but emergencies that draw officers out in force
undercut that approach.


On Sunday night, the LAPD was on tactical alert — drawing officers from around the
city to the area around Staples Center — for five hours.




Fans gather near Staples Center to celebrate after the Lakers’ win over the Miami Heat in the NBA Finals. (Jason
Armond / Los Angeles Times)




Capt. Stacy Spell, an LAPD spokesman, said Monday morning that it was “much too
early to tell” how much overtime was spent Sunday night, in part because the tactical
alert would have redirected officers already on duty away from low-priority calls
elsewhere in the city to the downtown area, while others who responded would have
been working overtime — and it will take time to discern between the two.
On Monday morning, Joanna Cotton
     Case 3:25-cv-04870-CRB      and her
                            Document     family
                                      77-1      arrived
                                            Filed       in downtown
                                                  06/16/25   Page 20 ofL.A.
                                                                        187after a
road trip from San Diego, wanting to take in the team’s victory after a difficult year.
Cotton had cried the night before, thinking of Bryant. The Lakers’ win was what she
needed amid the worst of 2020.


“It gives you a reason to exhale,” she said. “You got a glimpse of some normalcy.”


“It gave you a chance to put your guard down for a minute,” said her daughter
Brittany Cotton, 30.




A man walks by broken windows at a Jersey Mike’s near Staples Center after Sunday night’s Lakers celebration. (Allen
J. Schaben / Los Angeles Times)




They drove up Monday even though they knew there wouldn’t be the traditional
victory parade, given the pandemic. About 10 a.m., they walked to Staples Center and
glancedCase
        at the bronze statues of former
             3:25-cv-04870-CRB          Lakers
                                  Document 77-1 stars Shaquille
                                                   Filed 06/16/25O’Neal,
                                                                   Page Kareem
                                                                         21 of 187Abdul-
Jabbar and Magic Johnson.


Joanna Cotton said the aftermath of the night before — still apparent in damaged
storefronts — was a “shame.”


Still, the victory was sweet.


“The way the boys played, that was Lakers basketball,” she said. “We’re back.”



  More to Read
  Protesters or agitators: Who is driving chaos at L.A.
  immigration protests?
  June 10, 2025




  How L.A. law enforcement got pulled into the fight over
  Trump’s immigration crackdown
  June 10, 2025




  The LAPD is still paying for George Floyd protest tactics. Will
  lawsuits force change?
  May 25, 2025




             Hayley Smith


Hayley Smith is an environment reporter for the Los Angeles Times, where she covers
the many ways climate change is reshaping life in California, including drought,
floods, wildfires and deadly heat.



             Richard Winton
          RichardCase
                  Winton   is an investigative
                      3:25-cv-04870-CRB        crime writer
                                             Document 77-1 for  the06/16/25
                                                             Filed  Los Angeles Times
                                                                             Page 22 ofand
                                                                                        187part of
          the team that won the Pulitzer Prize for public service in 2011. Known as @lacrimes
          on Twitter, during almost 30 years at The Times he also has been part of the breaking
          news staff that won Pulitzers in 1998, 2004 and 2016.



                           Kevin Rector


          Kevin Rector is a state and national politics reporter for the Los Angeles Times. He
          joined The Times in 2020 and previously covered the Los Angeles Police Department,
          state and federal courts and other legal affairs. He has written extensively about the
          LGBTQ+ community, and helped lead the paper’s Our Queerest Century project in
          2024. Before The Times, Rector worked at the Baltimore Sun for eight years, where
          he was a police and investigative reporter and part of a team that won the 2020
          Pulitzer Prize in local reporting. He also was part of a Sun team that was named a
          finalist for the 2016 Pulitzer Prize in breaking news reporting, and part of a Times
          team that won the 2023 Everett McKinley Dirksen Award for Distinguished
          Reporting of Congress. He is from Maryland.



                           Ruben Vives


          Ruben Vives is a general assignment reporter for the Los Angeles Times. A native of
          Guatemala, he got his start in journalism by writing for The Times’ Homicide Report
          in 2007. He helped uncover the financial corruption in the city of Bell that led to
          criminal charges against eight city officials. The 2010 investigative series won the
          Pulitzer Prize for public service and other prestigious awards.




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                            EXHIBIT 2
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  LOS ANGELES DODGERS


Several arrests made after violence, looting
breaks out following Dodgers' win
By Jaysha Patel and Anabel Munoz
Thursday, October 31, 2024

Este artículo se ofrece en Español




Violence and looting broke out in several places across Los Angeles after the Dodgers' World Series
win.



LOS ANGELES (KABC) -- Several arrests were made after violence and
looting broke out in the Los Angeles area overnight as the region
celebrated the Dodgers winning their eighth World Series title in
franchise history.


Several crowds popped up across the city - Whittier Boulevard in East
L.A., downtown, near Dodger
                  24/7 Live Stadium in Elysian Park and more - in                     75°
celebration of the championship win. While most celebrations
remained peaceful and festive, things got out of hand in some places.
 Case 3:25-cv-04870-CRB             Document 77-1          Filed 06/16/25       Page 25 of 187




Fans in East L.A. celebrated the Dodgers winning the World Series. An unlawful assembly was later
declared by authorities.


At around 12:30 a.m. Thursday, the LAPD reported that a "hostile
crowd" had surrounded an MTA bus and tried to set it on fire near
Sunset and Echo Park Avenue. Metro officials said the bus operator and
five passengers on board the bus managed to safely evacuate before it
was set on fire.


"Metro is disappointed and angered by the senseless act of vandalism
on one of our buses following the Dodgers World Series Win earlier this
evening," the transportation agency said in a statement.


No arrests were made in that incident, but six people were taken into
custody after a group broke into a Nike store in downtown L.A. and
stole boxes of merchandise.
 Case 3:25-cv-04870-CRB             Document 77-1        Filed 06/16/25       Page 26 of 187




Some people near a Dodgers celebration were seen breaking into what appeared to be a Nike store
and leaving with boxes of merchandise.



The LAPD went into tactical alert around 9 p.m. Wednesday as large
crowds gathered elsewhere across the city. AIR7 was overhead and
captured fans in Dodger gear waving flags and taking over
intersections.


Just after 11 p.m., police on horses and dozens of others in riot gear
began trying to clear out a crowd near Broadway and 5th Street in
downtown.


AIR7 also captured several instances of street takeovers, with car doing
donuts and burnouts.


The tactical alert was canceled around 3 a.m. Thursday morning.


In addition to the six people who were arrested for looting, police say
two were arrested for failure to disperse and four others for stolen
property.


One police officer was taken to the hospital, but details about why or
that officer's condition were not available.
During a press conference Thursday morning, Mayor Karen Bass
 Case 3:25-cv-04870-CRB Document 77-1 Filed 06/16/25 Page 27 of 187
addressed those incidents as city leaders prepare for the World Series
parade on Friday.


"I again want to urge Angelenos to celebrate responsibly. Violence of
any kind will not be tolerated.... However, the overwhelming majority
of the celebrations last night were joyful and peaceful and I want to
thank the many Angelenos who celebrated peacefully," she said.




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Report a correction or typo

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                            EXHIBIT 3
               Case 3:25-cv-04870-CRB        Document 77-1      Filed 06/16/25   Page 29 of 187
                            Live      News        Good Day LA        More ⋮




239 ICE arrests made in Los
Angeles during week-long
operation
By FOX 11 Digital Team | Published May 14, 2025 10:04am PDT | Immigration | FOX 11 |




   SUGGESTED VIDEO: Survey shows immigrants play a critical role in California

   New research shows that most Californians believe that immigrants play a
   critical role in the state's success, and those surveyed support expanding
   services for that population, not only legal immigrants but undocumented
   immigrants. The study was commissioned by the California Community
   Foundation. President and CEO Miguel Santana spoke to FOX 11 about the
   findings from the survey.



   The Brief
  ICE announced 239 arrests made during a week-long immigration enforcement
  operationCase
            in LA last week.
                3:25-cv-04870-CRB Document 77-1 Filed 06/16/25 Page 30 of 187

  "Dangerous criminals throughout Los Angeles and surrounding cities" were arrested,
  officials said.

  Other agencies including the FBI and the ATF assisted during the operation.



LOS ANGELES - More than 200 undocumented immigrants were arrested
during a recent week-long operation in Los Angeles, U.S. Immigration and
Customs Enforcement (ICE) announced on Wednesday.

ICE said the operation was conducted from May to May 10 in the greater Los
Angeles area, but did not specify where.

SUGGESTED: Gov. Newsom proposes pausing healthcare expansion to
low-income immigrants

"ICE Enforcement and Removal Operations and interagency partners, identified,
detained and removed dangerous criminals throughout Los Angeles and
surrounding cities. Criminal aliens in the U.S. illegally should utilize the CBP
Home app to self-deport and avoid arrest by ICE, the agency said in a
statement.

Officials released photos of four of the suspects arrested during the operation,
along with their alleged crimes:


    Lan Pham


Pham, 52, of Vietnam, is convicted of involuntary manslaughter, assault with a
deadly weapon, parole violations, and drug violations.


    Manuel Angel Rodriguez Martinez
Martinez, Case
          40, of3:25-cv-04870-CRB
                  El Salvador, is accused of 77-1
                                    Document aggravated  rape of aPage
                                                  Filed 06/16/25   minor
                                                                       31 ofor
                                                                             187
incapacitated individual "in the category of continuing crime" in El Salvador.


    Jorge Artero Meza-Rodriguez


Rodriguez, 52, of Mexico, is convicted of vehicle theft, assault with a deadly
weapon, and illegal reentry to the U.S., officials said.


    Sung Park


Park, 52, of Korea, is convicted of voluntary manslaughter.

The arrests were made with the help of agencies including the FBI, the ATF, the
Drug Enforcement Administration, and the U.S. Marshals Service.

SUGGESTED: Trump letting in white South Africans into U.S. draws
backlash

Officials are encouraging the public to report crime and suspicious activity by
calling 866-347-2423 or completing the online tip form.


  The Source: Information for this story is from a press release published by
  U.S. Immigration and Customs Enforcement on May 14, 2025.




 Immigration       U.S. Border Security      Los Angeles
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                            EXHIBIT 4
 HOURLY NEWS
       Play Live Radio
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 LISTEN LIVE

MY PLAYLIST


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 EXCLUSIVE      NATIONAL SECURITY

DHS memo details how National Guard troops will be used for
immigration enforcement
JUNE 6, 2025 · 12:42 PM ET

HEARD ON ALL THINGS CONSIDERED

By Tom Bowman, Ximena Bustillo



           3-Minute Listen                                                                    PL AYLIST         TRANSCRIPT




Texas National Guard troops try to untangle an immigrant caught in razor wire after he crossed the U.S.-Mexico
border into El Paso, Texas, on Jan. 31, 2024. The Trump administration now plans to use Guard troops for law
enforcement activities, including "night operations and rural interdiction," as well as "guard duty and riot control"
inside immigrant detention facilities.
John Moore/Getty Images
National Guard troops would be used in immigration-enforcement activities,
              Case 3:25-cv-04870-CRB    Document 77-1    Filed 06/16/25   Page 34 of 187
including in "night operations and rural interdiction," as well as "guard duty and
riot control" inside detention facilities, according to a memo from the Department
of Homeland Security obtained by NPR.

DHS officials requested 20,000 National Guard troops three weeks ago, but this
memo details what duties those troops will be asked to perform. The memo, dated
May 9, from Andrew Whitaker, the executive secretary at DHS, says the
department will need up to 3,500 Guard personnel for its requirement to "Attempt
to Locate — Fugitives." Another 2,500 Guard soldiers would be needed for
detention support.

The memo says up to 10,000 troops would be needed for transportation support,
including "intra-and inter state transport of detainees/unaccompanied alien
children." And another 1,000 troops would be used for such duties as document
translation and interview assistance.

The Pentagon has not yet approved the request.

DHS Assistant Secretary Tricia McLaughlin told NPR: "DHS requested 20,000
National Guard members to help carry out the President's mandate from the
American people to arrest and deport criminal illegal aliens. The Department of
Homeland Security will use every tool and resource available to get criminal
illegal aliens including gang members, murderers, pedophiles, and other violent
criminals out of our country. The safety of American citizens comes first."


           IMMIGRATION
           Homeland Security pulls down list of 'sanctuary' cities and counties after backlash




This would be the first time the National Guard has been asked to enforce an
immigration crackdown within the United States, Sen. Jack Reed, the ranking
Democrat on the Senate Armed Services Committee, said at a hearing with Army
officials Thursday.

Army Secretary Dan Driscoll told the committee that while the service is
preparing to provide the forces, he had no details on what the troops would be
doing, and said he would not deploy the Guard "for any unlawful purposes." There
are a number of unanswered questions, officials say, including whether sending
troops from one state to another is lawful.
Multiple U.S. officials told NPR the Pentagon is still working with state governors
                   Case 3:25-cv-04870-CRB         Document 77-1   Filed 06/16/25   Page 35 of 187
to determine which states will provide the troops, though they are expected to
come mostly from Republican-led states. The troops could begin deploying as
early as next month.

One U.S. official not authorized to speak publicly told NPR that in meetings
between DHS and the Pentagon, DHS officials kept referring to "sanctuary cities,"
as among the necessary locations for immigration enforcement operations.

Last week, DHS published a list of "sanctuary jurisdictions" they said were
obstructing federal immigration law enforcement efforts. But the department took
the entire list down after several local leaders and the National Sheriffs
Association raised concerns with the list and lack of consultation with local
leaders.

DHS has spent the last several months bolstering the number of people tasked
with enforcing federal immigration laws. Thousands of officers with other agencies
including the FBI, Treasury, Bureau of Alcohol, Tobacco, Firearms and Explosives
and the Drug Enforcement Administration have been detailed to assist ICE with
interior enforcement.

The pressure on the agency is mounting. Earlier this year White House officials
criticized the pace in which ICE was arresting those suspected of being in the
country without legal status. That led to arrest quotas on field offices.

Those quotas recently increased to 3,000 arrests a day.

Over the course of this week, DHS said they have reached new daily arrest
records with 2,368 arrests on Tuesday and 2,267 arrests on Wednesday. The
department said the high numbers were due to increased enforcement operations
and cooperation with local law enforcement.

 president trump    dhs   national guard   immigration policy
                Case 3:25-cv-04870-CRB     Document 77-1   Filed 06/16/25   Page 36 of 187
   The White House is one step closer to defunding
   public radio.
   The House has voted to claw back all federal funding for public media, and the
   proposal now moves to the Senate.

   We’re running out of time to protect public radio’s essential news, music, and
   emergency broadcast services to communities across the nation.
   Those in rural areas — with few other options to get their news and
   information — will likely be the hardest hit.

   But you can still stand up for public radio.

   Spend 10 seconds at the link below.
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   independent stations serving communities across the country. Take action.


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Full Notification



                                 LASD - Los Angeles County Sheriffs Dept Information Bureau (SIB)

                       Saturday June 7th, 2025 :: 12:42 p.m. PDT




         Advisory    Sheriff's Department Statement Regarding Civil protest                           More Messages
                     activity in the City of Paramount
                                                                                                      See more messages from Los
       On Saturday, June 7, 2025, at approximately 11:00 a.m., Sheriff's Department                   Angeles, California »
       personnel responded to the 6400 Block of Paramount Boulevard in Paramount, CA
       90723, regarding a large crowd gathering in the area and blocking traffic. As
       deputies arrived, it appeared that federal law enforcement officers were in the area,
                                                                                                      Navigate & Discover
       and that members of the public were gathering to protest.

       The Sheriff's Department was not involved in any federal law enforcement                         Enter a town, zip code or address
       operations or actions and responded solely for traffic and crowd control
       management.

       We remind the public to exercise their right to protest peacefully, with respect for the
       safety of all community members. Our primary responsibility is to ensure public
       safety for all individuals present—both demonstrators, residents, and bystanders—
       by addressing potential safety concerns while supporting the safe and lawful
       expression of First Amendment rights.


       Prior Statement by Sheriff Robert Luna—

       The Los Angeles County Sheriff's Department does not participate in any civil
       immigration enforcement activities or mass deportation sweeps. Immigration
       enforcement is the responsibility of federal law enforcement agencies, not the
       Sheriff's Department.

       The Sheriff's Department does not enforce civil immigration laws, nor do we ask
       about an individual's immigration status when responding to calls for service. Our
       focus and priority remain on enforcing state and local laws to ensure the safety and
       well-being of our diverse communities throughout Los Angeles County.

       We deeply value diversity, inclusion, and public trust within our communities, and
       we want our residents to know that when they call for help, the Los Angeles County
       Sheriff's Department will respond, investigate, and protect everyone—regardless of
       a person's legal status.

       We recognize that these reports have caused fear, anxiety, and concern within our
       communities. We urge everyone to remain calm and peaceful as we continue to
       place your safety and well-being at the forefront of our efforts.

       Forwarded by:
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       Los Angeles County Sheriff's Department
       211 West Temple Street
       Los Angeles California 90012
       http://www.lasd.org
       213-229-1700

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                                                    Document        77-1 Filed   and
                                                                                   06/16/25                                    Page 40 of 187
register for "LASD – Headquarters News


Address/Location
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                            EXHIBIT 6
       Sections      Case 3:25-cv-04870-CRB
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                                                                                      ​ 06/16/25      Page ​42 of 187                    ​Vi
  Immigration raids and protests           Live updates        Fact vs. fiction      Know your rights       Protesters or agitators?




    CALIFORNIA




   What really happened outside the Paramount Home
   Depot? The reality on the ground vs. the rhetoric




   A protester holds the Mexican flag during a protest. (Gina Ferazzi / Los Angeles Times)


           By Ruben Vives and Rachel Uranga

           Published June 8, 2025 | Updated June 13, 2025 11:07 AM PT


                                                                   Big Tobacco's Fantasyland twists the truth about the
      It began
obacco's       as another
         Nicotine   Is A Saturday morning atdangers
                                             the Home       Depot in Paramount, a working
                                                    of vaping nicotine, and the reality is a                                       Learn Mo
                                            nightmare for us all. Wake up.
      class,
mare For  Uspredominantly
              All         Latino suburb south  of downtown Los Angeles.
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                                               Los Angeles  River bedPage
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                                                                          43 of filled
with weekend warriors tackling home improvements, workers collecting supplies and
immigrants in search of work.


But that morning, border patrol agents were spotted across the street from the Home
Depot, gathering around 9 a.m. Word quickly spread on social media. Passersby
honked their horns. Soon, protesters arrived. Home Depot eventually closed.


The clashes between authorities and protesters lasted for hours in both Paramount
and nearby Compton, though it was far from widespread. The chaos covered the area
directly around the Alondra Boulevard store, but it was enough to provide for
dramatic TV video.


                 CALIFORNIA

                 2,000 National Guard troops will be sent to L.A. amid clashes over immigration
                 raids
                 June 7, 2025




And it was a major trigger for the Trump administration to send 2,000 National
Guard troops to L.A. to deal with disturbances and assist in immigration actions.


So exactly what happened in Paramount?


Two Times reporters spent much of the day and night there Saturday. Here is what
they saw.
         Case 3:25-cv-04870-CRB              Document 77-1         Filed 06/16/25        Page 44 of 187




Protesters shield themselves against law enforcement during a protest. (Gina Ferazzi/Los Angeles Times)




A hint of trouble
Before the crowds arrived, Assemblymember José Luis Solache Jr., who represents
the Paramount area that includes the Home Depot, was driving on the freeway on the
way to a community event in neighboring Lakewood when he spotted a caravan of
U.S. Customs and Border Protection vehicles exiting Alondra Boulevard. The street
runs through the heart of the working class, largely immigrant Latino community of
Paramount.


He turned around, thinking they may be executing an immigration raid in his district
and he tracked them down to an office park, the Paramount Business Center, across
the street from Home Depot.


Federal law enforcement has a facility in Paramount, and apparently agents were
staging there.
Agents Case
       were3:25-cv-04870-CRB
            still arriving there and the black
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                                                                            of 187volleys
of tear gas and flash-bang grenades was open.


Unclear why they were there, he decided to record a post for Instagram.


“I saw a border agent get off the freeway here off of Alondra. I was like, No, it can’t be
happening,” he said.


                 CALIFORNIA

                 ICE raids across L.A. spark backlash; Trump officials vow to continue
                 operations
                 June 7, 2025




It was around 9 a.m.


“This is horrible,” he said on one of the posts. “I am literally shaking.”


“I don’t know what they’re doing inside. But, I mean, why were they in Paramount?,”
he told his followers.
          Case 3:25-cv-04870-CRB              Document 77-1          Filed 06/16/25         Page 46 of 187




A protester carries a Mexican flag as L.A. County sheriff’s deputies form a law enforcement line. (Gina Ferazzi/Los
Angeles Times)




Spreading across social media
Word quickly spread on social media.


Passersby honked their horns. Soon, protesters arrived.


“This is the situation,” Solache, the Assemblymember, said, turning the camera to
show dozens of uniformed Immigration and Customs Enforcement agents outside the
black gates, as people held up cameras to the scene and mariachi music blared.


“The community is coming out strong to show that they are not welcome in our
community,” said Solache, whose parents immigrated to the U.S. from Guanajuato,
Mexico. “No en mi distrito. Not in my district. Vámonos pa’ fuera (let’s go, get out of
here).”
                 CALIFORNIA

                Photos: A fierce pushback
       Case 3:25-cv-04870-CRB             on ICE
                                   Document   77-1raidsFiled
                                                        in L.A. from protesters,
                                                             06/16/25   Page 47officials
                                                                                 of 187
                 June 8, 2025




Outrage had been growing in Los Angeles and its Latino immigrant community after
a week of stepped up enforcement actions.


The day before, federal officials raided a retail and distribution warehouse in the
Fashion District downtown, a business district fueled by immigrants, and arrested a
top union official. Leading up to the workplace raid, federal agents arrested
immigrants as they came to scheduled check-ins or made courthouse appearances up
and down the state, tearing apart families. One father was arrested in front of his 8-
year old-son. Parent groups raised alarms after a Torrance elementary student and
his father were set for deportation. For many, talk about deporting violent criminals
didn’t ring true. “This whole rhetoric of coming after hardworking families is what we
are all concerned about,” Solache said. “When you come to do raids at businesses,
that is where the anger comes from.”


He said he and many others came out to observe and send a message that
immigration enforcement wasn’t welcome in their community.



Lines drawn
The scene began to turn darker as agents formed a line and brought out rifles that
shot out tear gas and pushed the crowds back.


The protests arrived as word spread on social media of a raid at Home Depot or at a
meatpacking place. There was never a raid at Home Depot but dozens of Border
Patrol agents and other federal agencies were inside a gated industrial office park,
where an initial crowd had gathered.


Most protesters were filming. There were social workers, neighbors and advocates.
                   CALIFORNIA

                The legal issues raised
       Case 3:25-cv-04870-CRB           by Trump
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But near the gates, any time federal agents saw that protesters threw anything toward
them or neared the police line, they shot out tear gas or flash-bang rounds. There
were about 100 people there. As the crowd grew, sheriff‘s deputies were deployed to
block off a perimeter on the east and west, near the 710 Freeway. Protesters shouted
at deputies, asking why they were helping.


The crowds began to form, as hundreds of rounds were shot in the late morning near
the office park.


Around noon, tensions grew as the agents attempted to clear the way for border
patrol and other unmarked vehicles to leave the business park. They fired tear gas
and flash-bang grenades at demonstrators standing on Alondra Boulevard. When a
caravan of federal vehicles departed from the gates, protesters followed them,
throwing rocks and other objects.
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Protesters continue to march toward a law enforcement line. (Gina Ferazzi/Los Angeles Times)




Chaos ensues
Shortly after they left, one protester brought out a trash bag and set it ablaze. A
couple of others pushed a cart with concrete blocks from Home Depot and they lined
the road to block vehicles. One man smashed the block and spread the broken pieces
on the road. Farther west along Alondra Boulevard, a crowd was gathering behind a
perimeter set up by the sheriff’s deputies near the 710 Freeway.


Then a U.S. Marshall bus pulled up to Alondra from the freeway. The crowd
surrounded the bus trying to push it back, kicking at it until tear gas was shot.


The standoff continued into the afternoon with protesters recording a line of sheriff‘s
deputies equipped with shields and weapons at the intersection of Alondra Boulevard
and Hunsaker Avenue, on the east perimeter and next to Manuel Dominguez High
School.
The crowd
       Casechanted,  “ICE go home”
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                                Document   justice, no 06/16/25
                                                 Filed peace.” Some people
                                                                 Page       yelled at
                                                                      50 of 187
the deputies, questioning why they were out in force. At some point, deputies began
shooting flash-bang grenades at the crowd, forcing them to retreat. People became
angered, cursing at deputies. At least one man was seen yelling at the deputies while
recording them: “What the hell are you doing?! Nobody’s hurting you, nobody’s doing
anything but making noise, are you intimidated by f— noise?!”


One woman among the protest group appeared to be bleeding, and another man was
treated for injuries. At least one person walked around with his shirt off, his back
bruised from foam projectiles that had struck him. In the distance, near the business
park, demonstrators were setting off fireworks and a billow of black smoke could be
seen.




Protesters explode fireworks over a torched car at an intersection in Compton. (Gina Ferazzi/Los Angeles Times)




Clashes continue into the night
DespiteCase
        the use of tear gas and so-called
            3:25-cv-04870-CRB     Documentless-lethal
                                            77-1 Filedprojectiles,
                                                         06/16/25 people
                                                                    Page returned
                                                                         51 of 187 to the
intersection of Alondra Boulevard and Hunsaker Avenue, screaming at deputies,
mocking them at times.


Around 4 p.m., the confrontation near a Home Depot was declared an unlawful
assembly, and officials warned protesters in Spanish and English to leave the area.


By 7 p.m., about 100 protesters had gathered on the other side of the 710 Freeway
near Atlantic Avenue and Alondra Boulevard, where some were lobbing rocks and
bottles at L.A. County sheriff’s deputies. They set at least three fires in the area
including a car that burned in the middle of the intersection.


At some point, the deputies retreated back to the bottom of a bridge that runs over
the 710 Freeway and the Los Angeles River. Throughout the night deputies and
demonstrators engaged with each other, with demonstrators launching fireworks that
exploded near the line of deputies and police vehicles. They used cars to drive toward
the deputies in an attempt to scare them, prompting the deputies to fire rubber
bullets, tear gas and flash-bang grenades at the vehicles.


A sheriff’s helicopter circled above throughout the evening, warning people they
would be found and arrested and to leave the area after an unlawful assembly was
declared, but the demonstrators continued, chanting and waving flags while some in
the crowd continued to throw things at the deputies.


It was nearing 9:30 p.m. when the line of deputies and vehicles began moving toward
the crowd, forcing them to flee back to Atlantic Avenue and Alondra Boulevard.


There deputies continued to fire tear gas and flash-bang grenades, sometimes at the
direction of a gas station where protesters were standing. By midnight,
demonstrators began to leave, ending a night of conflict between local and federal law
enforcement officials and residents of Paramount.


Federal authorities said some arrests had been made by agents. At least one video
showed a woman being tackled to the ground earlier and being carried away. Other
videos show two other people alsoDocument
       Case 3:25-cv-04870-CRB     being carried
                                          77-1 away
                                                Filed by federal agents.
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“Multiple arrests have already been made for obstructing our operations,” FBI
Deputy Director Dan Bongino said on X. “More are coming. We are pouring through
the videos for more perpetrators. You bring chaos, and we’ll bring handcuffs.”



Aftermath
So what brought federal agents to the area?


Mayor Peggy Lemons said the city began to inquire more about the facility where the
agents were staging.


It learned that the federal office has been there since 2007 and that residents had
reported seeing various federal agents there over the years.


She said the last mass gathering of agents at that location was more than 20 years
ago. At the time, she said, terrorism was a main concern for the country and dozens
of agents had used the facility as a gathering place before heading to the Los Angeles
and Long Beach ports.


Lemons said at the time the city assumed the office was mostly to support operations
at the ports.


“I never saw them or heard a peep from them,” Lemons said.


The facility’s close proximity to the Home Depot might have confused people that
there was an operation going on at the store.


Lemons said she does not know what the agents were doing there Saturday morning.


“We have no idea nor have they shared anything with us,” Lemons said.
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              More to Read
              Graffiti at night. Cleanup in the morning. The night-and-day
              difference of L.A. protests
              June 13, 2025




              All of L.A. is not a ‘war zone.’ We separate facts from spin and
              disinformation amid immigration raids
              June 14, 2025




              How L.A. law enforcement got pulled into the fight over
              Trump’s immigration crackdown
              June 10, 2025




                           Ruben Vives


          Ruben Vives is a general assignment reporter for the Los Angeles Times. A native of
          Guatemala, he got his start in journalism by writing for The Times’ Homicide Report
          in 2007. He helped uncover the financial corruption in the city of Bell that led to
          criminal charges against eight city officials. The 2010 investigative series won the
          Pulitzer Prize for public service and other prestigious awards.



                           Rachel Uranga


          Rachel Uranga covers immigration for the Los Angeles Times. She can be reached at
          rachel.uranga@latimes.com or via Signal at Uranga.64.




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USNORTHCOM statement on additional
 military personnel in the Los Angeles
                 Area
/ Published June 9, 2025

PETERSON SPACE FORCE BASE, Colo. – U.S. Northern Command has activated
the Marine infantry battalion that was placed in an alert status over the weekend.
Approximately 700 Marines with 2nd Battalion, 7th Marines, 1st Marine Division will
seamlessly integrate with the Title 10 forces under Task Force 51 who are protecting
federal personnel and federal property in the greater Los Angeles area.

**UPDATE** As of June 10th 2025, there are approximately 2,100 soldiers from the
79th Infantry Brigade Combat Team, a California National Guard unit in a Title 10
status, in the greater Los Angeles Area.

The activation of the Marines is intended to provide Task Force 51 with adequate
numbers of forces to provide continuous coverage of the area in support of the lead
federal agency.

Task Force 51 is U.S. Army North’s Contingency Command Post, which provides a
rapidly deployable capability to partner with civil authorities and DoD entities in
response to a Homeland Defense and Homeland Security Operations. It is
commanded by Maj. Gen. Scott M. Sherman.

Task Force 51 is comprised of approximately 2,100 National Guard soldiers in a Title
10 status and 700 active-duty Marines. Task Force 51 forces have been trained in de-
escalation, crowd control, and standing rules for the use of force.

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      Note to Editors:
      For additional information, please contact U.S. Northern Command Public
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   Phone: (719) 554-6889
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     News




 Jun 9, 2025




 Watch: Governor Newsom
 discusses ‘Donald Trump’s
 mess’ in Los Angeles

Los Angeles, California – Governor Gavin Newsom talked with Jacob Soboroff of
MSNBC amid President Trump’s attempts to militarize Los Angeles following
peaceful protests against federal immigration raids. Transcript is below.


       Gov. Newsom tells President Trump to 'stand down' amid L.A. protests
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Transcript of the interview:

SOBOROFF: I’m inside the emergency operations center, run by the County of Los
Angeles, here with Governor Gavin Newsom. Governor, thanks for joining us live on
MSNBC.

GOVERNOR: Good to be with you.

SOBOROFF: So this is, as I said, the Emergency Operations Center. I wonder how
you would characterize the events that are unfolding in Los Angeles right now. Is it
an emergency? Is it, Fox News is calling it the LA riots? Is it a peaceful protest?
What’s happening, what have you seen?

GOVERNOR: Well, I mean, look, Donald Trump has created the conditions you see
on your TV tonight. He’s exacerbated the conditions. He’s, you know, lit the
proverbial match. He’s putting fuel on this fire ever since he announced he was
taking over the National Guard, an illegal act, an immoral act, an unconstitutional
act, and we’re going to test that theory with a lawsuit tomorrow.

SOBOROFF: Well, I was going to ask you that, sorry to interrupt you, but Governor,
so that’s news. If you’re going to sue the administration, tell me a little bit about it,
give us a preview of this lawsuit.

GOVERNOR: Well under his executive order, it specifically notes and under what
the DoD did is they had to coordinate with the governor of the state. They never
coordinate with the governor of the state. I’ve worked with the National Guard.
We’ve deployed the National Guard. We did three plus thousand folks have been
doing logistics work and fire recovery work, and they’re fighting the fires — the
rattlesnake teams. We did the same back in George Floyd. We have no problem
working collaboratively in a mutual aid system with local law enforcement. But
there’s a protocol, there’s a process. He didn’t care about that. And the worst part,
he completely lied. He said in a tweet that everything is now safe. Everything is
fine. Is that the case, Mr. Trump? He said because he deployed the National Guard,
the guard hadn’t even been deployed when he said this, it’s Orwellian simply lying
to people. Unconstitutional, illegal act. His mess, we’re trying to clean it up.

SOBOROFF: You’re saying that the President of the United States has made the
situation on the ground here in Los Angeles less safe. What do you know about
immigration enforcement today? Has there been any ICE raids in the city today?
Are they coordinating with you on that at all? Have they given you a heads up?

GOVERNOR: Of course they’re not coordinating. That said, we were told at just a
recent briefing, just a few minutes ago, there was small activity in the county and
not in the city proper. But look, you made a point a moment ago. These images are
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unacceptable. These kids on the car, the folks that are taking advantage of this,
these aren’t peaceful protesters a lot of these folks. A lot of great people out there
doing the right thing, but you get these insurgent groups coming in, sort of these
anarchists that are in there to create real problems, and they’re just playing right
into Donald Trump’s hand. And they need to be called out. They need to be
arrested. It is wrong to destroy other people’s property, and it is wrong to create
the conditions that only exacerbate this. But Donald Trump, at the end of the day,
is the sponsor of these conditions.

SOBOROFF: Let me give you the opportunity. You mentioned that there are people
out there causing mischief and mayhem. What’s your message to those people
who are out there tonight, not the peaceful protesters that are out there
protesting for the rights of immigrants, but for the people that are doing damage
to buildings, to law enforcement [inaudible]?

GOVERNOR: Well, they’re doing more, more than damage to buildings and to
property. They’re potentially damaging the very foundation of our republic,
democracy is in the balance. I mean, you’re seeing these authoritarian tendencies
now are being acted out by this administration. And we’re case in point as it relates
to nationalizing, federalizing, the National Guard, threatening now to put in
Marines. So I hope these people would pause and just consider — now some of
them, they want that kind of chaos, some ways they’re adjacent to where Donald
Trump is — but the peaceful protesters, we want to keep them safe. We want them
to exercise their fundamental rights. We want to keep those that are enforcing the
laws in a respectful, responsible way also safe. But Donald Trump needs to pull
back. He needs to stand down. Donald Trump is inflaming these conditions. This is
Donald Trump’s problem right now, and if he can’t solve it, we will.

SOBOROFF: He continues to, as always, hit you hard publicly. Just 10 minutes ago,
he put out another Truth Social telling you and the Mayor to apologize to the
people of Los Angeles. You guys go at it pretty hard publicly, but I know you talk
privately. Have you spoken in the last couple of days to the President about any of
this?

GOVERNOR: Yeah, no, we talked for almost 20 minutes, and he — barely this issue
never came up. I mean, I kept trying to talk about LA, he wanted to talk about all
these other issues. We had a very decent conversation.

SOBOROFF: When was this?

GOVERNOR: This was late Friday night, about 1:30 plus, his time.

SOBOROFF: After the protests had started here?

GOVERNOR: After the protests, and he never once brought up the National Guard.
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              Caseliar, he said he did. Stone.
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                                          Document   Liar. Never
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conversation, I’ve always wanted to approach engagement with the President of
the United States in a respectful and responsible way. But there’s no working with
the President, there’s only working for him, and I will never work for Donald
Trump.

SOBOROFF: Did you mention it all to him in that phone call on Friday night, the
types of raids that were happening in your state on Friday? You know, there are
reports that, and video of, enforcement operations happening in ways that they
haven’t traditionally. ICE officers going to Home Depots around Los Angeles and
picking off day laborers. Did you bring that up with him?

GOVERNOR: The conversation started with the frame of what’s happened in LA he
immediately pivoted to other interests and other things that seemed to be more
important.

SOBOROFF: Do you think he was aware of what was happening in Los Angeles?

GOVERNOR: I think he — more than aware. And obviously he was setting this up to
take these additional steps.

SOBOROFF: This was a setup?

GOVERNOR: Well, I’m not saying — he was setting things up, not saying it was a
setup, but clearly they were in the process of moving to these next steps, because
out of nowhere just [inaudible] few hours after that conversation, he moves to pull
the trigger under this, this construct, under Title 10 and then created and
exacerbated the conditions that are persisting today.

SOBOROFF: This is your authority, normally, to deploy the National Guard here.
You did it, we were together after the fires and those National Guard troops have
been out all across Los Angeles working to rebuild and recover this city. How did
you find out that the President of the United States was going to usurp your
authority and deploy your National Guard here in California?

GOVERNOR: I just — I got a call from a staffer. No heads up whatsoever. And again,
we’re here to support local law enforcement. There’s a mutual aid process. Local
law enforcement had no needs. They were not requesting any additional
resources. I’ve got 100 now, I have 175 CHP officers, tactically trained officers,
tactical teams, to address Donald Trump’s mess. We are here to support local law
enforcement, the sheriff’s office, LAPD, but they didn’t need that support. He made
this up. This is a manufactured crisis, in order to get under the intent, to start to
stretch credulity, and to begin the process of moving inevitably towards a
constitutional question and crisis around Posse Comitatus. And it’s, I think,
inevitable, that’s where he’s going.
SOBOROFF: Tom Homan, the border czar, said to me yesterday, he did not rule out
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literally arresting you, nor Mayor Bass if you interfere in his — which he said you
hadn’t yet —

GOVERNOR: He’s a tough guy, why doesn’t he do that. He knows where to find me.
But you know what? Lay your hands off four year old girls that are trying to get
educated. Lay your hands off these poor people who are just trying to get — live
their lives, man. Trying to live their lives, paying their taxes, been here 10 years.
The fear, the horror, the hell is this guy? Come after me, arrest me. Let’s just get it
over with. Tough guy, you know, I don’t give a damn. But I care about my
community. I care about this community, the hell are they doing? These guys need
to grow up. They need to stop and we need to push back. And I’m sorry to be so
clear, but that kind of bloviating is exhausting. So Tom, arrest me. Let’s go.

SOBOROFF: The perception is there’s a lot of theatrics happening out there. Mayor
Bass told me that she spoke directly to Tom Homan, has he reached out to you,
have you reached out to him?

GOVERNOR: No, no. No.

SOBOROFF: No communication whatsoever?

GOVERNOR: No, no. Direct communication and back and forth with Susie Wiles,
and with the President in a phone conversation.

SOBOROFF: There obviously are pockets of violence out there on the streets. How
concerning is the violence in Los Angeles tonight? How widespread is it, too? You’re
here, you’re monitoring it.

GOVERNOR: We’re worried about it. Yeah, we’re monitoring it, I think that’s self-
evident, we’re here with LAPD, we’re here with the Mayor, we’re here with the
Sheriff’s Department, my National Guard — that we’re still working in command
with — and others, monitoring the situation in real time, providing whatever
resources we could possibly need. We’re calling out the violence period, full stop.
It’s wrong, and we’re calling for the President of the United States to rescind his
order so that he can clean up his own mess.

SOBOROFF: Stephen Miller, other people have used the word insurrection about
the activity on the streets of Los Angeles.

GOVERNOR: Yeah this, I mean this is just — they’re trying to incite violence.
They’re trying to impose the kind of rhetoric that only makes the conditions worse,
that quite literally put people’s lives at risk, and they’re intentionally and knowingly
doing that.

SOBOROFF: All of this is about immigration enforcement —
GOVERNOR: [seems  to take objection to
           Case 3:25-cv-04870-CRB      that being
                                     Document     the full
                                               77-1   Filedstory]
                                                            06/16/25      Page 63 of 187

SOBOROFF: and that type of — well go ahead, feel free to disagree!

GOVERNOR: No I mean, I know — and I don’t mean to cut you off — I think it’s
about something much more. This is about authoritarian tendencies. This is about
command and control. This is about power. This is about ego, my way or the
highway. This is a consistent pattern of practice, of recklessness. This guy has
abandoned the core principles of this great democracy. He is threatening to, what,
go after judges he disagrees with, cut off funding to institutions of higher learning.
He’s on a cultural binge. He’s rewriting history, censoring historical facts. I mean,
it’s — this is all, this is something completely different, and this is part of that
ongoing play that is unfolding in front of our eyes. It is a serious moment under
the guise of immigration, but it’s much deeper than that.

SOBOROFF: You know, I’ve reported with and about you throughout your tenure
here, I’ve not seen you as angry as I feel like I’ve seen you here. Do you think that
there’s a way out of this? Where does this go from here? What happens —

GOVERNOR: Well there needs to be. He needs to stand down. The President of the
United States needs to stand down. He needs to rescind this order, and we’ll work
together to clean up his mess.

SOBOROFF: Did he respond? You asked for him to rescind the order earlier today.
Did they respond at all?

GOVERNOR: Of course not, no. More lies and statements. Look, again, you’ve seen
me out there in the tarmac with the President. We had a very cordial conversation
on Friday night. I’m not looking to find a crowbar to put in the spokes of his wheels
every day. Yeah, we’ll stand tall and firm in terms of defending our values. But I
want to find areas where you can work together, but you go after vulnerable
communities, you go after kids — I was just down in Compton School District Three
days ago, and they were talking to me about this four year old kid. I don’t even
know where she is. This is a serious moment. The hell is going on? Threatening real
people. These are friends. These are people we know, members of our community,
destroying industries in the state. You claim to care about ranchers and farmers?
You care to claim about construction industry? I mean, these are the folks that
you’re going after in the most uncivil and indecent way, and that’s where I have a
problem. I have no problem going after criminals. We’ve coordinated and
collaborated with ICE, over 10,000 transfers that have been part of my
administration. So I don’t need to be lectured by these guys that we don’t
coordinate and collaborate on violent criminals.

GOVERNOR: California state prisons does hand over inmates to ICE.
SOBOROFF: Yes, and my legislature with respect, it s not an indictment, but I ve
had to veto legislation for them to try to
              Case 3:25-cv-04870-CRB       stop me77-1
                                         Document  from using  that authority.
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when these guys say we don’t go after criminals, again, they’re lying, and they are
knowingly lying.

SOBOROFF: What’s your message to the people that are out there protesting for
the rights of immigrants? Do you want to see those protesters continue to be out
on the street and protest these actions by the Trump administration?

GOVERNOR: I just want them to be safe. And I just, I want folks to know that are
thinking about going out there, just be safe.

SOBOROFF: Do you support them?

GOVERNOR: Of course I support them. I love — I mean, protests are the
foundation of this democracy, it’s what makes this country great, and that needs to
persist. And right now people need to come out, but — we need to be mindful of
the toxicity of this moment, and then we have to deal with these elements that are
coming in that are intentionally trying to take advantage of this in a way that only
aids and abets Donald Trump. And this is what he was counting on, and we’ve got
to push back, and we’ve got to be careful. At this moment, I pray that people are
cautious and careful at this moment.

SOBOROFF: You know, we talked about this is in some measure about immigration,
in some measure it’s about democracy. Do you believe, some people have said that
this is an attempt at distraction from, maybe the matters with Elon Musk back in
Washington. You know, why did this happen now, in other words?

GOVERNOR: I mean, he’s always — he’s a master of distraction. He’s, you know,
he’s the commander of chaos. That’s what Donald Trump does. If he(?) moves this
direction, move that direction. I mean, look, this guy is what, 90 days, 90 beautiful
deals? How many deals? Zero. I mean the UK, what? Give me a break. I mean, Elon
Musk is, you know, the sycophant of sycophants, as it relates to this love
relationship that he had with the president of the United States, said it exactly
right. We’re likely in a recession the second half of the year because of the
recklessness of this tariff policy under this administration. He’s just settled our kids
and grandkids with two and a half trillion dollars of debt to get billionaires and
corporations a tax break that they’re not even asking for. Of course, he’s trying to
distract us.

SOBOROFF: I have a feeling there’s a pretty good chance that in the White House
there might be a television on and he might be watching us right now.

GOVERNOR: Well I hope so, yeah, he can learn something.

SOBOROFF: What might you say to him? If you — I’ll give you the floor. You have
the opportunity. What you weren t able to say to them on that phone call or calls
that he hasn’tCase
               taken today.
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GOVERNOR: Just, I mean, where’s your decency, Mr. President? Stop. Rescind this
order. It’s illegal and unconstitutional. And I said it, I’ll say it again — it’s immoral.
You’re creating the conditions that you claim you’re solving, and you’re not, and
you’re putting real people’s lives at risk. This is a serious moment, and it requires
serious leadership, and it’s time for you to be a commander in chief of the United
States of America, and I will have your back if you want to work in a relationship of
trust and truth in the spirit of our founding fathers. But you come after poor kids
— you come after families — we will do everything in our power to stand up and
stand in your way.

SOBOROFF: Governor Gavin Newsom, what time you filing the lawsuit tomorrow?

GOVERNOR: Very — early in the morning. I’d love to do it tonight, but they, we got
lawyers working on the brief.

SOBOROFF: Governor Gavin Newsom, thank you for being here live on MSNBC. I
appreciate it.

GOVERNOR: Thanks for having me.




  Categories: Public safety, Recent news
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        JUST IN   Giants get Rafael Devers from Red Sox in trade for Kyle Harrison, Jordan Hicks 13m ago


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U.S. & WORLD


Exclusive: DHS secretary sought military arrests and
drones in Los Angeles in leaked letter
By Matthias Gafni, Cynthia Dizikes, Sophia Bollag, Susie Neilson
                                                                                                Gift Article
June 9, 2025
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In a letter, Secretary of Homeland Security Kristi Noem asked Secretary of Defense Pete Hegseth to direct the military to detain or arrest “lawbreakers” in Los
Angeles.
AP Photo/Thomas Padilla and AP Photo/Alex Brandon, Pool




                               Listen Now: DHS secretary sought military arrests and drones in Los Angeles in lea
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       One day before the Trump administration deployed U.S. Marines to confront protesters in Los
       Angeles, U.S. Homeland Security Secretary Kristi Noem asked Defense Secretary Pete Hegseth to
       direct the military to detain or arrest “lawbreakers,” a move one expert called “a grave escalation.”


       A letter sent Sunday from Noem to Hegseth, obtained by the Chronicle, requested that the
       Pentagon give “Direction to DoD forces to either detain, just as they would at any federal facility
       guarded by military, lawbreakers under Title 18 until they can be arrested and processed by
       federal law enforcement, or arrest them.”


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       troops to L.A.
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• “Wildly underprepared”: National Guard troops seen sleeping on floors in exclusive photos


• Video: ICE agents make more arrests at S.F. immigration courthouse


The military is generally barred under federal laws from taking part in domestic law enforcement.
Granting Noem’s request would likely require the administration to sidestep those laws by
invoking the Insurrection Act, two legal experts said in interviews.


However, a Homeland Security spokesperson suggested Tuesday that the request was not granted
after Noem and Hegseth met with President Trump, saying, “The posture of our brave troops has
not changed.”


Noem also asked Hegseth for “drone surveillance support” in her letter as well as weapons and
logistics assistance in Los Angeles. By Monday, the Defense Department had deployed 700
Marines to the city, where they were to join more than 2,000 federalized California National Guard
troops in quelling raucous immigration protests. California sued in response, with Gov. Gavin
Newsom calling the deployment a “manufactured crisis” and an “unmistakable step toward
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authoritarianism.”


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State Sen. Scott Wiener, D-San Francisco, said Noem’s request for military arrests was ominous
and out of proportion in a country where “intense protests have happened throughout history.”


“This isn’t what happens in a democracy, this is what happens in a dictatorship,” Wiener said. “We
have a time-honored tradition in the United States that the military does not enforce civilian law.”

                                                                                          e-Edition   Account
On Tuesday, after the publication of this story, a Homeland Security spokesperson confirmed
Noem had made the request to Hegseth.


“As rioters have escalated their assaults on our DHS law enforcement and activists’ behavior on
the streets has become increasingly dangerous, Secretary Noem requested Secretary Hegseth
direct the military on the ground in Los Angeles to arrest rioters to help restore law and
order,” Tricia McLaughlin, the assistant secretary for public affairs, said in a statement. “Rioters
are throwing rocks and Molotov cocktails at law enforcement, defacing public property, setting
cars on fire, defacing buildings, assaulting law enforcement, and burning American flags.
President Trump and Secretary Noem will not allow American cities to burn to the ground and our
law enforcement to be violently targeted.”


However, 40 minutes later, the agency asked the Chronicle to disregard the first statement from
McLaughlin in favor of a new one.
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“This letter was sent days ago, prior to the Secretary of Homeland Security and Secretary of
Defense meeting with the President. The posture of our brave troops has not changed,” the
statement said. “This is a whole-of-government approach to restore law and order. We are grateful
to our military members and law enforcement who have acted with patriotism in the face of
assault, taunts, and violence.”


In the letter, Noem referred to an “emergent Request for Assistance (RFA) to aid in resolving the
situation in Los Angeles,” and used strong language to describe what she said was the threat posed
by people protesting a series of raids by U.S. Immigration and Customs Enforcement agents.


“We need … support to our law enforcement officers and agents across Immigration and Customs
Enforcement (ICE), Customs and Border Protection (CBP), and Federal Protective Services (FPS),”
Noem wrote, “as they defend against invasive, violent, insurrectionist mobs that seek to protect
invaders and military aged males belonging to identified foreign terrorist organizations, and who
seek to prevent the deportation of criminal aliens.”


It’s not clear what Noem meant by her reference to terrorist organizations. In the past, the Trump
administration has used the term terrorist organizations to refer to gangs.


“This is a grave escalation,” said William Banks, a Syracuse University law professor and leading
expert on national security law and the domestic role of the military. “It may presage the
invocation of the Insurrection Act.”
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Stephen Dycus, an expert in national security law and the Insurrection Act, called the requests in
the memo extraordinary given that local authorities appeared to be in control of the protests. In
the rare cases that such military force has been used in the past, the Vermont Law and Graduate
School professor emeritus said, local law enforcement had either lost control or was refusing to
act.


“Viewed all together, and more importantly in the current context, these requests can be seen as
using the military, or at a minimum using that threat, to instill fear in the American people and
discourage the kinds of protests that are going on in Los Angeles,” Dycus said. “So this could be
viewed as a preparation for invoking the Insurrection Act, or it could be viewed as part of a larger
effort to frighten people who otherwise would exercise their First Amendment guarantee of free
speech and protest.”
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A person holds a flag in front of a fire burning during a protest Sunday against ICE raids in Los Angeles.
Stephen Lam/S.F. Chronicle



The Insurrection Act of 1792 was last used during the 1992 riots following the Rodney King police
beating and trial in Los Angeles, when California Gov. Pete Wilson requested military aid from
President George H.W. Bush.


Banks said the act should be used rarely and only in dire emergencies. “Our society is founded on
the idea that laws are enforced by civilians, first of all,” he said. “And second, that problems going
on in the states, other than the most grave situations, should be handled by the states.”


Kyndra Rotunda, professor of military and international law at Chapman University, said the
military’s role will ultimately be decided by more than just the executive branch.
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“The Posse Comitatus Act prohibits the military from engaging in domestic law enforcement
without authorization from Congress,” Rotunda said. “In light of this provision, presumably
Congress or the courts will eventually weigh in as this situation continues to develop.”


Military use of drones for domestic purposes carries a number of restrictions, and is largely
limited to training and disaster response. Under Defense Department policy, the military can use
drones within its borders in support of a request from federal or state officials, but only with
approval from the secretary. Federal agencies used military drones to monitor protests following
George Floyd’s murder and Black Lives Matter protests.


Noem asked Hegseth in her letter for “logistical support and the transportation of munitions”
from Fort Benning and Wyoming. The letter did not specify what weapons were needed nor why
they were requested from those two locations.


State Sen. Tom Umberg, a retired Army colonel and judge advocate general officer, said he found
the letter’s requests alarming.


“It looks like a preparation for a military assault,” said Umberg, D-Santa Ana. “This looks like a
subterfuge to create some sort of rationale for some sort of invocation of the Insurrection Act.”


Umberg said he was concerned that the letter did not explicitly say people should only be arrested
or detained based on reasonable suspicion or probable cause. It would be false imprisonment to
detain someone unless those conditions are met, which is a crime, he said.


“As a former federal prosecutor and former JAG officer, I find it to be outrageous that two Cabinet
secretaries are basically attempting to provoke a situation where both law enforcement as well as
other individuals could be hurt,” Umberg said.
    Noem also asked for graduates “of an advanced intermediate level school, like the Marines’ School
                   Case 3:25-cv-04870-CRB              Document 77-1             Filed 06/16/25          Page 75 of 187
    of Advanced Warfighting, to aid in developing SOPs (standard operating procedures) and TTPs
    (tactics, techniques and procedures) going forward for when DHS and DoD have to setup a joint
    operation center and work in conjunction with each other in these situations.”


    “At the President’s direction,” Noem wrote, “DHS is seeking to put an end to the migrant invasion
    and these lawless riots.”


    Noem wrote that she would send a formal request “in the coming days.”
    June 9, 2025



                   Matthias Gafni
                   INVESTIGATIVE REPORTER


    Matthias Gafni is an investigative reporter for the San Francisco Chronicle. He investigates stories on corruption, child and adult
    sexual abuse, criminal justice, aviation, healthcare and more. In 2017, Gafni won a Pulitzer Prize for breaking news for his work
    on the Ghost Ship fire. In 2018, he was named SPJ Reporter of the Year in Northern California. The following year, he was a finalist
    for a Pulitzer Prize for breaking news for his work covering the Camp Fire. In 2020, he won a Polk Award for military reporting of a
    COVID-infested aircraft carrier and in 2020 he won an IRE award for his coverage of an East Bay hospital. He was born and raised
    in the Bay Area and graduated from UC Davis.




                   Cynthia Dizikes
                   INVESTIGATIVE REPORTER


    Cynthia Dizikes is an investigative reporter for the San Francisco Chronicle. Before joining the Chronicle in 2016, Dizikes worked in
    Chicago where she focused on government agencies and the courts. In addition to investigations, Dizikes has a background in
    general assignment and political reporting. She previously covered the Minnesota congressional delegation in Washington D.C.




                   Sophia Bollag
                   POLITICS REPORTER, SACRAMENTO


    Sophia Bollag joined the San Francisco Chronicle as a politics reporter in 2022. She has covered state government from
    Sacramento since 2016 and has worked at The Sacramento Bee, The Associated Press and the Los Angeles Times. She grew up in
    the East Bay and graduated from Northwestern University, where she studied journalism and literature.




                   Susie Neilson
                   INVESTIGATIVE REPORTER


    Susie Neilson is an investigative reporter for The San Francisco Chronicle. Previously, she spent three years on the Chronicle’s
    data team, where she covered topics including criminal justice and housing from a quantitative lens. She is a graduate of the UC
    Berkeley Graduate School of Journalism and Northwestern University.



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Troops' rol e expand beyond protecting fede ra l buildings in los Angeles.
A senior ICE spokesperson tellls @CBSNews: "Troops on the ground in
Los Angeles ar,e pmvidi ng perimeter and personnel protection fo r our
faciliti,es and offioers who are out on daily enforcement operations. They
are providing security at fed eral faci liti,es in the ar,ea and support with
transportation, as needed."

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   LATEST   Vance Boelter Went To Two Additional Minnesota
 Lawmakers Homes—US Attorney

U.S.        Breaking News     National Guard       Los Angeles         California        Marines     Trump Adm




National Guard Commander
Backtracks On Remark About
Detaining Civilians
Published Jun 11, 2025 at 4:55 PM EDT      Updated Jun 11, 2025 at 8:55 PM EDT




                                 By Sonam Sheth and Gabe Whisnant
                                          Evening Politics Editor

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                    GOSherman,
                       AD-FREE the officer
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                                           overseeing the National Guard response to ongoing
                                       Document 77-1 Filed 06/16/25 Page 80 of 187
        protests against Immigration and Customs Enforcement (ICE) in Los Angeles, said
   LATEST Vance Boelter Went To Two Additional Minnesota
guardsmen are not temporarily detaining civilians, after earlier saying that they were.
 Lawmakers Homes—US Attorney

Sherman leads Task Force 51, which is overseeing more than 4,000 National Guard troops and 700
Marines deployed to the area. The commander initially told the Associated Press on Wednesday
that guardsmen had temporarily detained several civilians.

But he later retracted that claim, clarifying to the outlet that his remarks were based on photos and
video footage he mistakenly believed represented the National Guard in Los Angeles, which was
ultimately not the case.

The Context
The protests in Los Angeles erupted after ICE raided a number of downtown neighborhoods with
high immigrant populations and labor-intensive industries as part of the Trump administration's
crackdown on undocumented migrants.

President Donald Trump has repeatedly pledged to round up migrants and deport them, but his
administration's approach has drawn sharp criticism for sweeping up people who are legally
permitted to be in the U.S. and those without legal status who have not been convicted of crimes
and are seeking legal pathways to residency.

The administration has also acknowledged that some deportees were removed from the country
by mistake.

What To Know
Although the anti-ICE demonstrations in L.A. have been largely peaceful, some have devolved into
violence, with people throwing rocks, Molotov cocktails, cement and other items at law
enforcement.

More than 330 people have been arrested in L.A. since protests began Friday.

Sherman initially said the detentions took place over the past few days but added that the number
of detentions has decreased as tensions in the city have subsided in recent days.

He also emphasized that National Guard personnel do not directly engage in law enforcement
actions and that detainees are handed off to police once they secure the situation.
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California National Guard are positioned at the Federal Building on Tuesday, June 10, 2025, in downtown Los Angeles.
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  Pete Hegseth Reacts to Following Court Orders Over Marines in LA


Approximately 500 National Guard troops have now been trained to support immigration
operations, with many receiving specialized instruction to accompany federal agents on
enforcement missions.
Sherman told the APGOthat  the National Guard is bracing for renewed unrest, even though the
                        AD-FREE
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situation in L.A. has subsided, at least for the time being.
   LATEST     Vance Boelter Went To Two Additional Minnesota
  Lawmakers
"We         Homes—US
    are expecting       Attorney
                   a ramp   up," he said, citing a rise in nationwide discussions about protests. "I'm
focused right here in L.A., what's going on right here. But you know, I think we're, we're very
concerned."

All deployed National Guard troops are undergoing multi-day training on managing civil unrest.
Those selected to assist with immigration raids receive additional legal and operational
instruction, including practice exercises with immigration agents.

What People Are Saying
John Miller, CNN's chief law enforcement and intelligence analyst, said of Sherman's initial
comments: "Once you are not free to go, you are technically under arrest. If the National Guard
says to you, 'You're being detained,' and you're like, 'You know what, you're a soldier, not a cop, I'm
leaving,' and they force you to stay, you are under arrest because you are not free to go."

He added: "There is no difference between being detained, if you can't leave, and being under
arrest. It's different from being charged. So what they're saying is they're acting under their
authority, which is not coming from the government, it's coming from being federalized by the
Department of Defense, on the orders of the president, to detain people in the streets.

"So, let's pause for a minute," Miller said. "Members of the Army, assigned to the National Guard,
are detaining Americans in the streets of the United States for violations of local law. We've
crossed over something there."

Anthony Michael Kreis, a professor of constitutional law at the Georgia State University College
of Law, wrote on X: "In America, we do not let the military police our streets absent the most
extreme and dire circumstances, and only under the unambiguous invocation of legal authority.
This is not that."

What Happens Next
Trump has not given a definitive timeframe for when he'll withdraw his orders to the National
Guard and the Marines stationed in L.A. California has sued the Trump administration and the
president to get Trump to rescind his orders, accusing the president of an "unprecedented power
grab" that runs afoul of the Constitution.

The Associated Press contributed reporting to this story.
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 LOS ANGELES

 About 500 National Guard troops in LA
 are trained to accompany agents on
 immigration raids
 Maj. Gen. Scott Sherman, speaking in an interview with The Associated Press and ABC, also warned
 that he expects the protest situation will escalate.

 By Lolita C. Baldor | The Associated Press • Published June
 11, 2025 • Updated on June 11, 2025 at 3:55 pm


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California Governor Gavin Newsom gave harsh criticism of the policies                         RIVERSIDE
and tactics of the Trump Administration as members of the National                            1 person injured after car rams
                                                                                               into ‘No Kings' protesters in
About 500 of the National Guard troops deployed to the Los                                     Riverside
Angeles protests have been trained to accompany agents
                                                                                               PROTESTS
on immigration operations, the commander in charge said                                        Saturday recap: 7 LAPD
Wednesday. And while some troops have already gone on                                          officers injured in altercations
such missions, he said it’s too early to say if that will                                      with ‘agitators' in downtown
                                                                                               LA
continue even after the protests die down.
                                                                                               HUNTINGTON BEACH
Maj. Gen. Scott Sherman, speaking in an interview with The                                     Armed man accused of trying
                                                                                               to start fight at ‘No Kings'
Associated Press and ABC, also warned that he expects the                                      protest in Huntington Beach
protest situation will escalate. “We are expecting a ramp up,”
he said, noting that protests across the nation are being                                    SPONSORED
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planned and discussed now. “I’m focused right here in LA,                                      Seniors Can Now Fly Business
what’s going on right here. But you know, I think we’re, we’re                                 Class For the Price Of Economy
                                                                           Insider | Travel Deals
very concerned.”


Sherman, commander of Task Force 51 that is overseeing
                                                                             Weather Forecast
the more than 4,000 Guard troops and 700 Marines                             LOS ANGELES, CA
deployed, initially said that National Guard troops had
already temporarily detained some civilians. He later said he                                            TONIGHT

was incorrect, and that he had based his comments on
photos and footage he had seen that turned out to not be a
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representation of Guard members in Los Angeles.                                                          TOMORROW
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This story has been corrected. The commander of the
troops deployed to Los Angeles initially told the AP that
National Guard members had already detained some
civilians. He later said his information was incorrect and
Guard members have not detained civilians.




Sen. Chris Murphy, D-Connecticut, asked Secretary of Defense Pete
Hegseth about the use of the National Guard in Los Angeles when
compared to what happened at the Capitol on Jan. 6, 2021.

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     STATE WATCH


     Bondi says California at ‘good point’: ‘We’re not scared to
     go further’
     BY SARAH FORTINSKY - 06/11/25 10:51 AM ET




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     Attorney General Pam Bondi told reporters Wednesday that efforts to quell unrest in Los
     Angeles are working but that federal authorities are “not scared to go further” if necessary.

     Asked what the threshold would be for the Trump administration invoke the Insurrection
     Act, Bondi touted the steps the administration has already taken and seemed to suggest
     further steps were not imminent.


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     “Right now, in California, what we’re doing is working,” the nation’s top prosecutor told
     reporters. “By bringing in the National Guard, by bringing in the Marines, right now, to back
     them up, to protect our federal buildings, to protect highways, to protect the citizens.”

     “So, right now, in California, we’re at a good point,” she continued. “We’re not scared to go
     further. We’re not frightened to do something else if we need to.”

     The Trump administration has deployed thousands of National Guard troops to protect
     federal buildings and has mobilized hundreds of Marines to back up its federal agents.


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     The military is generally barred from carrying out domestic law enforcement duties, but
     declaring the Insurrection Act is seen as a potential path around those restrictions.
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     Trump has not ruled out using the law but has stopped short of taking that significant step.


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     Bondi also pointed to the curfew implemented in downtown Los Angeles on Tuesday night
     as a step in the right direction.


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     “Right now, we’re hoping it’s going to get under control,” she said. “We hope the curfew will
     work, and we’re going to continue to do everything we can to keep California safe if the
     government of California is not going to help them.”

     The president also doubled down on the decision to deploy troops earlier Wednesday, as
     his feud with California Gov. Gavin Newsom (D) was heating up.

     “If our troops didn’t go into Los Angeles, it would be burning to the ground right now, just
     like so much of their housing burned to the ground,” he wrote on Truth Social. “The great
     people of Los Angeles are very lucky that I made the decision to go in and help!!!”

     The comment came after Newsom, in a late Tuesday video message, called the
     administration’s response a “brazen abuse of power.”
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     INSURRECTION ACT LA PROTESTS MARINES NATIONAL GUARD PAM BONDI TRUMP
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ADMINISTRATION



White House says 330 immigrants arrested in L.A. since Friday
BY TARA SUTER 06/11/25 07:11 PM ET




The White House said on Wednesday that 330 immigrants have been arrested in Los Angeles since
Friday.

“Since June 6, there have been 330 illegal aliens that have been arrested as part of these riots in Los
Angeles,” White House press secretary Karoline Leavitt said during a Wednesday briefing.



“One-hundred and thirteen of those illegal aliens had prior criminal convictions, she added.

The Trump administration has taken a hardline stance on immigration during its first few months, with
Immigration and Customs Enforcement (ICE) arrests topping 100,000 under President Trump this
year, per a White House spokesperson.
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“There’s been 157 people arrested for assault and obstruction-related charges,” Leavitt said during the
Wednesday briefing.




Trump deployed thousands of National Guard soldiers in Los Angeles over the weekend to quell
expanding demonstrations in the city. Protestors were pushing back on local ICE raids that came amid
the administration’s crackdown on immigration.



“If our troops didn’t go into Los Angeles, it would be burning to the ground right now, just like so much
of their housing burned to the ground,” Trump said on Truth Social on Wednesday.

On Wednesday, federal prosecutors announced charges against two men accused of possessing
Molotov cocktails amid recent Los Angeles protests in response to immigration raids.



The Los Angeles Police Department (LAPD) said Tuesday there were over 100 arrests Monday night
amid recent protests, with 96 people arrested over “Failure to Disperse.”

Categories: Administration, National Security, News, State Watch


Tags: California, ICE, LA protests, Los Angeles, Trump administration, white house
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     California sheriff says Newsom ‘encouraged’ LA riots as ICE
     arrests violent illegal aliens
     By Audrey Conklin

     Published June 10, 2025

     Fox News


     The Department of Homeland Security is sharing information about more than a dozen illegal immigrant suspects accused of
     crimes in the United States who were arrested in Los Angeles starting on June 6.

     The agency released the suspect information after violence broke out in Downtown LA over the weekend in response to the ICE
     raids that resulted in "hundreds of illegal aliens [being] arrested by ICE officers and agents," including "many with a criminal history
     and criminal convictions."

     DHS listed more information about 19 suspects that ICE Los Angeles arrested on June 7 who are accused of crimes ranging from
     robbery to second-degree murder to rape.

     "America’s brave ICE officers are removing the worst of the worst from LA’s streets, while LA’s leaders are working tirelessly against
     them," DHS said in a Sunday statement as riots continued through the weekend.

     ICE ARRESTS 'WORST OF THE WORST' ILLEGAL ALIENS IN LOS ANGELES WHILE PROTESTERS ADVOCATE FOR
     CRIMINALS: DHS




     Protesters in downtown Los Angeles voice their outrage against ICE raids that occurred over the weekend, in Los Angeles, Calif. on
     Sunday, June 8, 2025. (Stephen Lam/San Francisco Chronicle via Getty Images)


     Sheriff Chad Bianco of Riverside County said agitators "are not protesting" and criticized Democrat Gov. Gavin Newsom for not
     taking appropriate action.

     "They are trying to violently influence something by political action. That is what this is. That is everything that the Constitution
     stands against," said Bianco, a Republican who is running for governor. "That is what law enforcement stands against, and that is
     what will facilitate the downfall of our civilized society. A civilized society has an adherence to the rule of law, and there is
     consequence for breaking that social compact. And when politicians encourage this behavior."

     IMMIGRATION AUTHORITIES HIGHLIGHT CRIMINAL HISTORY OF MULTIPLE MIGRANTS ARRESTED IN LOS ANGELES




     Law enforcement stand during a protest in Paramount, Calif., Saturday, June 7, 2025, after federal immigration authorities




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     conducted operations. (AP Photo/Eric Thayer)


     "Governor Newsom needs to put his phone down, go sit in his house behind the comfort of his TV screen and a couch, and be quiet
     because he is doing nothing but fueling this process," the sheriff said. "He needs to stay out of the way of law enforcement. He
     knows nothing about this. He knows absolutely nothing about the enforcement of law. He despises the enforcement of law, and he
     has encouraged this."

     Cuong Chanh Phan
     Cuong Chanh Phan, a 49-year-old Vietnamese national, was previously convicted of second-degree murder. Phan was sentenced
     to serve 15 years to life in prison after he and "his gang member associates" were asked to leave a high school graduation party in
     1994 following a dispute and "returned with semiautomatic weapons," which they fired into a crowd of about 30 partygoers, DHS
     said.

     "Dennis Buan, 18, of South Pasadena and David Hang, 15, of San Marino, California were killed, and seven others were wounded,"
     the Department said in a Monday post on X. "This criminal illegal alien is who Governor Newsom, Mayor Bass and the rioters in Los
     Angeles are trying to protect over U.S. citizens."




     Cuong Chanh Phan, a 49-year-old Vietnamese national, was previously convicted of second-degree murder. (ICE)

     Cielo Vivar-Ubaldo
     ICE criminally arrested Cielo Vivar-Ubaldo, a previously deported Mexican national who was convicted for sex with a minor,
     narcotics violations and a hit-and-run. He faces deportation.




     ICE criminally arrested Cielo Vivar-Ubaldo, a previously deported Mexican national who was convicted for sex with a minor,
     narcotics violations and a hit-and-run. (ICE)

     Jose Cristobal Hernandez-Buitron
     Jose Cristobal Hernandez-Buitron, 43, of Peru was previously convicted of robbery and sentenced to serve 10 years in prison.

     FEDERAL OFFICIALS SLAM DEMOCRATS FOR 'DANGEROUS' RHETORIC AS ICE AGENTS FACE VIOLENT MOBS IN LA,
     NYC




     Jose Cristobal Hernandez-Buitron, 43, was previously convicted of robbery and sentenced to serve 10 years in prison. (ICE)


     Julian Riveros-Cadavid
     Julian Riveros-Cadavid, a Colombian national, was arrested on administrative immigration violations and has prior arrests on
     charges of domestic battery, child endangerment, assault with a deadly weapon, grand theft and narcotics violations. He faces


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     deportation.




     Julian Riveros-Cadavid, a Colombian national, was arrested on administrative immigration violations and has prior arrests on
     charges of domestic battery, child endangerment, assault with a deadly weapon, grand theft and narcotics violations. (ICE)

     Chrissahdah Tooy
     Chrissahdah Tooy, a 48-year-old Indonesian national, was previously convicted on narcotics, DUI and illegal entry charges.




     Chrissahdah Tooy, a 48-year-old Indonesian national, was previously convicted on narcotics, DUI and illegal entry charges. (ICE)


     Rolando Veneracion-Enriquez
     ICE arrested Rolando Veneracion-Enriquez, a 55-year-old Filipino illegal immigrant, whose criminal history includes theft, assault,
     burglary and sexual penetration with a foreign object with force and assault with intent to commit rape in Pomona, California, which
     carries a 37-year prison sentence.

     ICE HIGHLIGHTS ARRESTS OF 5 ILLEGAL ALIENS CONVICTED OF VIOLENT CRIMES, INCLUDING AGAINST CHILDREN




     ICE arrested Rolando Veneracion-Enriquez, a 55-year-old Filipino illegal immigrant, whose criminal history includes burglary in
     Ontario, California; and sexual penetration with a foreign object with force and assault with intent to commit rape in Pomona,
     California, which carries a 37-year prison sentence. (ICE)


     Jordan Mauricio Meza-Esquibel
     Honduran national Jordan Mauricio Meza-Esquibel, 32, whose criminal history includes convictions on charges of domestic
     violence, as well as heroin and cocaine distribution.




     Honduran national Jordan Mauricio Meza-Esquibel, 32, whose criminal history includes convictions on charges of domestic




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     violence, as well as heroin and cocaine distribution. (ICE)


     Jesus Alan Hernandez-Morales
     ICE arrested Jesus Alan Hernandez-Morales, a 26-year-old Mexican illegal immigrant previously convicted of conspiracy to
     transport an illegal alien in Las Cruces, New Mexico. He received a 239-day sentence.




     ICE arrested Jesus Alan Hernandez-Morales, a 26-year-old Mexican illegal immigrant previously convicted of conspiracy to
     transport an illegal alien in Las Cruces, New Mexico. He received a 239-day sentence. (ICE)


     Delfino Aguilar-Martinez
     Delfino Aguilar-Martinez, a 51-year-old illegal immigrant from Mexico, has been accused of assault with a deadly weapon with great
     bodily injury in Los Angeles. He was sentenced to serve one year in prison.

     ICE CRACKDOWN SEES 7,400 ILLEGAL MIGRANTS ARRESTED IN 9 DAYS




     Delfino Aguilar-Martinez, a 51-year-old illegal immigrant from Mexico, has been accused of assault with a deadly weapon with great
     bodily injury in Los Angeles. He was sentenced to serve one year in prison. (ICE)


     Victor Mendoza-Aguilar
     ICE arrested Victor Mendoza-Aguilar, a 32-year-old Mexican national previously convicted of possessing unlawful paraphernalia,
     possessing controlled substances, assault with a deadly weapon: not firearm, and obstructing a public officer in Pasadena.




     ICE arrested Victor Mendoza-Aguilar, a 32-year-old Mexican national previously convicted of possessing unlawful paraphernalia,
     possessing controlled substances, assault with a deadly weapon: not firearm, and obstructing a public officer in Pasadena. (ICE)


     Jose Gregorio Medranda Ortiz
     Ecuadorian national Jose Gregorio Medranda Ortiz's criminal history includes conspiracy to possess with intent to distribute five




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     kilograms or more cocaine while on board a vessel in Tampa, Florida.




     Ecuadorian national Jose Gregorio Medranda Ortiz's criminal history includes conspiracy to possess with intent to distribute five
     kilograms or more cocaine while on board a vessel in Tampa, Florida. (ICE)


     Francisco Sanchez-Arguello
     Francisco Sanchez-Arguello, a 38-year-old Mexican illegal immigrant, was previously arrested on grand theft larceny and illegal
     weapons possession charges.




     Francisco Sanchez-Arguello, a 38-year-old Mexican illegal immigrant, was previously arrested on grand theft larceny and illegal
     weapons possession charges. (ICE)


     Armando Ordaz
     Armando Ordaz, a 44-year-old illegal immigrant from Mexico, has a criminal history including sexual battery and petty theft in Los
     Angeles, as well as receiving known or stolen property in Norwalk, California.




     Armando Ordaz, a 44-year-old illegal immigrant from Mexico, has a criminal history including sexual battery and petty theft in Los
     Angeles, as well as receiving known or stolen property in Norwalk, California. (ICE)


     Lionel Sanchez-Laguna
     Mexican national Lionel Sanchez-Laguna, 55, has a criminal history including discharging a firearm at an inhabited dwelling and
     vehicle, battery on spouse or cohabitant, willful cruelty to child, DUI, assault with semi-automatic firearm and personal use of a
     firearm in Orange, California.




     Mexican national Lionel Sanchez-Laguna, 55, has a criminal history including discharging a firearm at an inhabited dwelling and
     vehicle, battery on spouse or cohabitant, willful cruelty to child, DUI, assault with semi-automatic firearm and personal use of a




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     firearm in Orange, California. (ICE)

     Arturo Diaz-Perez
     Arturo Diaz-Perez, a Mexican national, is facing administrative immigration violations. He has previous criminal convictions for
     narcotics violations and carrying a controlled weapon. Diaz-Perez is currently detained in ICE custody pending removal
     proceedings.




     Arturo Diaz-Perez, a Mexican national, is facing administrative immigration violations. He has previous criminal convictions for
     narcotics violations and carrying a controlled weapon. (ICE)


     Juan Antonio Flores-Felician
     Juan Antonio Flores-Felician is a previously deported Mexican nation with previous criminal convictions for burglary, possession of
     stolen property and receiving stolen property. He faces deportation.




     Juan Antonio Flores-Felician is a previously deported Mexican nation with previous criminal convictions for burglary, possession of
     stolen property and receiving stolen property. (ICE)

     Felimon Alejo-Garcia
     HSI Los Angeles arrested Felimon Alejo-Garcia, a Mexican national, on administrative immigration violations. He has a prior DUI
     conviction and is detained in ICE custody pending removal proceedings.




     HSI Los Angeles arrested Felimon Alejo-Garcia, a Mexican national, on administrative immigration violations. He has a prior DUI
     conviction and is detained in ICE custody pending removal proceedings. (ICE)

     Diego Hernando Quinones-Alvarado
     ICE arrested Diego Hernando Quinones-Alvarado, a Colombian national, on administrative immigration violations. He has a
     previous DUI conviction and was recently arrested for burglary. He faces removal proceedings.




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     ICE arrested Diego Hernando Quinones-Alvarado, a Columbian national, on administrative immigration violations. He has a
     previous DUI conviction and was recently arrested for burglary. (ICE)

     Russell Gomez-Dzul
     U.S. Border Patrol agents criminally arrested Mexican national Russell Gomez-Dzul for allegedly assaulting a federal officer.




     U.S. Border Patrol agents criminally arrested Mexican national Russell Gomez-Dzul for allegedly assaulting a federal officer. (ICE)


     ICE also arrested several American citizens during the riots on charges of federal obstruction and assaulting a federal officer.

     Rioters assaulted officers, slashed tires, defaced buildings and taxpayer-funded property, the agency said in a June 7 press
     release.




     A woman waves a Mexican flag amidst tear gas from law enforcement during a protest in Paramount, Calif., Saturday, June 7,
     2025, after federal immigration authorities conducted operations. (AP Photo/Eric Thayer)


     "As rioters have escalated their assaults on our DHS law enforcement and activists’ behavior on the streets becomes increasingly
     dangerous, the federal government is calling in the California National Guard for additional support to ensure the safety of all
     citizens, law enforcement and public property," a DHS spokesperson told Fox News Digital in a statement. "Politicians need to turn
     down the temperature — our ICE enforcement officers face a 413% increase in assaults against them as they are just trying to do
     their jobs."

     The agency is calling on Newsom and LA Mayor Karen Bass to "end" the rioting.




     Los Angeles Police Department (LAPD) officers move in on demonstrators in front of LA City Hall during a protest against federal
     immigration sweeps in downtown Los Angeles, California, U.S. June 8, 2025. (REUTERS/Barbara Davidson)


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     "The men and women of ICE put their lives on the line to protect and defend the lives of American citizens," ICE Assistant Secretary
     Tricia McLaughlin said in a statement. "Make no mistake, Democrat politicians like Hakeem Jeffries, Mayor Wu of Boston, Tim Walz,
     and Mayor Bass of Los Angeles are contributing to the surge in assaults of our ICE officers through their repeated vilification and
     demonization of ICE. From comparisons to the modern-day Nazi gestapo to glorifying rioters, the violent rhetoric of these sanctuary




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     politicians is beyond the pale. This violence against ICE must end."

     Fox News Digital reached out to Newsom and Bass for comment.

     ICE said in a June 7 press release that it has arrested 2,000 illegal immigrants per day this week "and these violent activists won’t
     deter enforcement operations."

     Audrey Conklin is a digital reporter for Fox News Digital and FOX Business. Email tips to audrey.conklin@fox.com or on Twitter at
     @audpants.

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U.S. Department of Homeland Security



  ICE Continues to Arrest Vicious Illegal Alien Criminals as
  Rioters Continue to Disrupt Law Enforcement
  Release Date: June 9, 2025

    California sanctuary politicians and rioters are defending heinous illegal alien criminals including child pedophiles and other violent criminal illegal
                                                          aliens at the expense of Americans' safety

  WASHINGTON - Today, the Department of Homeland Security (DHS) released more information about some of the worst of the worst criminal illegal
  aliens arrested during the ongoing Immigration and Customs Enforcement (ICE) operation in Los Angeles. These arrests occurred on June 8 despite
  violent riots and assaults on ICE law enforcement.

  “These heinous criminals, including child abusers and pedophiles, are some of the illegal aliens arrested yesterday in Los Angeles. Why do Governor
  Newsom and Los Angeles Mayor Karen Bass care more about violent criminal illegal aliens than they do about protecting their own citizens?” said
  Assistant Secretary Tricia McLaughlin. “These rioters in Los Angeles are fighting to keep rapists, murderers, and other violent criminals loose on Los
  Angeles streets. Instead of rioting, they should be thanking ICE officers who every single day wake up and make our communities safer.”

  Below is a list of some of the violent criminal illegal aliens arrested in ICE’s Los Angeles Operation on Sunday:

  Eswin Uriel Castro

  ICE arrested Eswin Uriel Castro, a previously deported illegal alien. Castro has criminal convictions for child molestation and being armed with a
  dangerous weapon. He has also been arrested for robbery and domestic violence.




  Anastacio Enrique Solis-Salinas

  ICE arrested Anastacio Enrique Solis-Salinas, a convicted criminal from Nicaragua. His criminal history includes convictions for domestic violence
  and hit and run. Additionally, he’s been arrested for willful cruelty to a child.
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Rafael Gamez-Sanchez

ICE arrested Rafael Gamez-Sanchez, an illegal alien, with a criminal conviction for vehicular manslaughter.




Miguel Angel Palafox-Montes

ICE arrested Miguel Angel Palafox-Montes, an illegal alien, with criminal convictions for grand theft, narcotics violations, and identity theft. He has
also been arrested for battery and burglary. Palafox-Montes has previously been voluntarily returned to Mexico twice.




Dzhakhar Aslambekov

ICE arrested Dzhakhar Aslambekov, an illegal alien from Russia. Aslambekov was recently detained for fraud related to Electronic Benefit Transfer
(EBT) cards used to access government assistance programs.
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Keywords
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IMMIGRATION AND CUSTOMS ENFORCEMENT (ICE) (/KEYWORDS/IMMIGRATION-AND-CUSTOMS-ENFORCEMENT-ICE)       ALIEN (/KEYWORDS/ALIEN)   CRIME (/KEYWORDS/CRIME)
ILLEGAL (/KEYWORDS/ILLEGAL)   IMMIGRATION ENFORCEMENT (/KEYWORDS/IMMIGRATION-ENFORCEMENT)

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::I_Bellow are some of the crimin al il legal al ie11s an est ed i11 ICE's Los
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U.S. Department of Homeland Security



  ICE Arrests Illegal Alien for Molotov Cocktail Attack on Law
  Enforcement Caught on Video
  Release Date: June 11, 2025

                                                  This illegal alien has been charged with attempted murder

  WASHINGTON – The Department of Homeland Security (DHS) announced Immigration and Customs Enforcement (ICE) arrested Emiliano Garduno-
  Galvez—an illegal alien from Mexico—for attempted murder after he threw a Molotov cocktail (https://x.com/DHSgov/status/1932802890378141988) at law
  enforcement during the Los Angeles riots.

  On June 9, 2025, ICE agents in Los Angeles arrested Garduno-Galvez after he was identified as a suspect who allegedly threw a Molotov cocktail at law
  enforcement during the Los Angeles riot on Saturday, June 7. Last night, he was charged with attempted murder.




  “Emiliano Garduno-Galvez is a criminal illegal alien from Mexico who threatened the lives of federal law enforcement officers by attacking them with a
  Molotov cocktail during the violent riots in Los Angeles. ICE arrested Garduno-Galvez, and he is now being charged with attempted murder. These are the
  types of criminal illegal aliens that rioters are fighting to protect,” said Assistant Secretary Tricia McLaughlin. “The Los Angeles rioters will not stop us
  or slow us down. And if you lay a hand on a law enforcement officer, you will be prosecuted to the fullest extent of the law.”

  Garduno-Galvez had previously been deported. He has a previous criminal record: In 2024, Garduno-Galvez was arrested by the Anaheim Police
  Department in California for grand theft and by the Long Beach Police Department for a DUI.

                                                                               ###

  Topics
   BORDER SECURITY (/TOPICS/BORDER-SECURITY)     HOMELAND SECURITY ENTERPRISE (/TOPICS/HOMELAND-SECURITY-ENTERPRISE)

  Keywords
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   CRIME (/KEYWORDS/CRIME)    IMMIGRATION ENFORCEMENT (/KEYWORDS/IMMIGRATION-ENFORCEMENT)

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       Jose Jimenez-Alvarado came to t he Unirted States as a Honduran
       national. We aH,ested him June 10 in Los Ange es, despi' e widespread
       obstruction from demonstrators. Protestors and rioters may not realize
       t hat he was a convlicted felon.. Wh ile here,. he racked up two felony theft
       convictions..

       • Why should a criminal! alien who di sregarded our laws live FIREElYand
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 LOCAL NEWS

 Video shows unmarked vehicles ram car in ICE arrest in east Los Angeles
 by: Travis Schlepp
 Posted: Jun 11, 2025 / 12:45 PM PDT
 Updated: Jun 11, 2025 / 11:38 PM PDT

 SHARE



 A video shared on social media Wednesday morning shows federal agents in Los Angeles ram an unsuspecting vehicle and take the occupant
 into custody at gunpoint.

 On Wednesday afternoon, the U.S. Department of Homeland Security confirmed that it was an operation by federal agents as part of a “targeted
 arrest” of a man they say assaulted an immigration officer.

 The video was posted on Bluesky by journalist and videographer Sean Beckner-Carmitchel.


 The video is a recording of a screen replaying security footage from a nearby business. In it, a white Mercedes sedan is seen waiting to turn from
 Calzona Street on Whittier Boulevard in Boyle Heights.

 As the Mercedes begins its turn, an unmarked silver pickup pulls out in front of it blocking its path, while an unmarked silver or light-blue SUV
 rams it from behind.

 The video continues to show several men exit the vehicle with guns pointed as the driver exits with his hands up and is taken into custody.
 Smoke can also be seen rising from the behind the sedan, potentially from a pepper ball round or another law enforcement munition.
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     A crowd begins to develop at the scene where a car was rammed by two unmarked vehicles in what is believed to be an arrest by federal agents in Boyle Heights on June 11, 2025. (KTLA)


     Witnesses at the scene said the driver wasn’t the only occupant of the vehicle, rather a woman and two children, one of whom is an infant, were
     also in the car when federal agents smashed into it.

     Sky5 was over the scene shortly after the video was shared on Bluesky. Video showed a crowd developing at the adjacent business where the
     original security footage is believed to have been filmed. The business owner later provided a copy of the video to KTLA upon request.

     The white Mercedes sedan shown in the video could be seen parked on the curb not far from the intersection.

     The involved federal agents were not at the scene by the time Sky5 arrived.

     As with most clandestine operations by DHS and Immigration and Customs Enforcement, little details were shared with local law enforcement or
     the media.

     The Los Angeles police and fire departments responded to the scene Wednesday morning. LAFD officials said there was no evidence of a crash
     and no need for paramedics. Police officers remained on scene but no further details were released.

     Around 1:40 p.m., DHS confirmed its agents were involved in the arrest, calling the person taken into custody a “violent rioter who punched a
     CBP officer.”

     “When Homeland Security Investigations tried to arrest Christian Damian Cerno-Camacho for the assault, he attempted to flee. He was
     ultimately arrested and taken into custody,” DHS officials wrote on X.

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     This is just the latest instance of an arrest by federal agents that have happened in broad daylight and without warning across the city. Last
                             Case 3:25-cv-04870-CRB                                                 Document 77-1                         Filed 06/16/25
     week, after search warrants were served in several locations downtown, protesters clashed with federal agents as they took detainees into
                                                                                                                                                              Page 119 of 187
     custody and drove them to a holding facility.

     In the days since, demonstrations and protests have broken out throughout the downtown corridor, with some overnight protests turning
     violent with vandalism and raids.

     Tuesday night, Los Angeles Mayor Karen Bass issued a curfew for a one-square-mile triangular parcel of land in downtown that included Little
     Tokyo, Chinatown, Skid Row and the Fashion District. Officials have not said if that curfew will remain in place moving forward.

     In that DHS post on social media, officials vowed that immigration enforcement raids would not be coming to an end any time soon. “You will
     not stop us or slow us down,” the post continues. “And if you lay a hand on a law enforcement officer, you will be prosecuted to the fullest extent
     of the law.”

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       ~ @ICEgov

           Watch thi s new video of ICIE Los Angles officers apprehending
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 Case 3:25-cv-04870-CRB           Document 77-1         Filed 06/16/25      Page 123 of 187




Photos show National Guard with rifles on
ICE enforcement missions
California is suing, saying troops are engaged in illegal law enforcement.

By Luis Martinez
June 11, 2025, 6:30 PM




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Timeline: How ICE raids sparked Los Angeles protests President Donald Trump has deployed
4,000 National Guard troops and 700 Marines to Los Angeles, while Gov. Gavin Newsom called the
president’s actions “a serious breach of state sovereignty.”




There are currently 4,100 California National Guardsmen and 700
Marines in the greater Los Angeles area after President Donald Trump
ordered them to protect federal buildings and federal law enforcement
as protests opposed to ICE raids increased over the weekend.




          MORE: Hegseth asserts Trump can send troops anywhere to
          protect ICE agents conducting raids
Most of the attention has been focused on the crowd control assistance
Case 3:25-cv-04870-CRB Document 77-1 Filed 06/16/25 Page 124 of 187
that these troops could provide around federal buildings, but Trump's
memo calling up National Guardsmen also said they would
"temporarily protect ICE and other United States Government
personnel who are performing Federal functions, including the
enforcement of Federal law."




National Guardsmen accompany ICE officers while they detain a man in Los Angeles.
@ICEgov/X




            MORE: LA protests live updates: Trump's actions put democracy
            'under assault,' Newsom says




On Tuesday, the X page for U.S. Immigration and Customs Enforcement
(ICE) posted photos of California National Guardsmen on the scene of a
detention being carried out by an ICE agent with the caption "Photos
from today's ICE Los Angeles immigration enforcement operation."


One of the photos was later reposted by Defense Secretary Pete
Hegseth's personal X account with the caption "This We'll Defend."
ACase
  U.S.3:25-cv-04870-CRB
      official told ABC News that the photos showed National
                          Document 77-1 Filed 06/16/25 Page 125 of 187
Guardsmen providing force protection to federal personnel and were
not conducting law enforcement duties.




       MORE: Amid LA protests, what officials say about the rules of
       force for National Guard, Marines




The Posse Comitatus Act prevents active-duty U.S. military personnel
from carrying out domestic law enforcement duties though that
restriction can be lifted when a president invokes the Insurrection Act,
which President Trump has not done.




       MORE: What is the Insurrection Act, and what happens if Trump
       uses it to quell LA protests?




In the photos, the National Guardsmen were armed with rifles but it
was unclear if they were loaded with ammunition. ABC News has
previously reported that while the federalized troops are carrying
weapons, their guns will not have ammunition loaded in the chamber,
according to U.S. officials. But they will carry ammunition as part of
their regular uniforms that can be used in the rare case of needed self-
defense.
                Pete Hegseth
Case 3:25-cv-04870-CRB     Document 77-1          Filed 06/16/25   Page 126 of 187
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California Democratic Gov. Gavin Newsom and the state of California
have asked a federal court to stop the Trump administration from using
federalized National Guardsmen and Marines to accompany ICE agents
on immigration raids saying it will "escalate tensions" and raises
questions if the force protection they are providing constitutes law
enforcement duties which they are not allowed to do by federal law.


"Defendants intend to use unlawfully federalized National Guard
troops and Marines to accompany federal immigration enforcement
officers on raids throughout Los Angeles," said the lawsuit filed by
California Attorney General Rob Bonta on behalf of Newsom. "They will
work in active concert with law enforcement, in support of a law
enforcement   mission, and will physically interact with or detain
 Case 3:25-cv-04870-CRB Document 77-1 Filed 06/16/25 Page 127 of 187
civilians."


"To preserve the peace, Plaintiffs respectfully urge the Court to grant
the circumscribed emergency relief requested through this motion for a
temporary restraining order, which will prevent the use of federalized
National Guard and active duty Marines for law enforcement purposes
on the streets of a civilian city," the motion requested.


California's lawsuit challenging Trump's use of the military to enforce
federal immigration laws is a “crass political stunt endangering
American lives,” lawyers with the Department of Justice told a federal
court Wednesday.




       MORE: Gov. Greg Abbott to deploy Texas National Guard in
       anticipation of protests




A hearing on the state's motion will be held on Thursday.


On Tuesday, Hegseth told a congressional committee that he and
President Trump have the power to send National Guard and active-
duty troops anywhere in the country to ensure that ICE agents can
enforce the law.


"We believe that ICE, which is a federal law enforcement agency, has
the right to safely conduct operations in any state, in any jurisdiction in
the country," Hegseth told a House Appropriations Defense
subcommittee.


"ICE ought to be able to do its job, whether it's Minneapolis or Los
Angeles," he added.
On Wednesday, testifying before a Senate Appropriations
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subcommittee, Hegseth again defended using troops with ICE agents
on immigration raids, saying it was needed to keep them from being
attacked.


Democratic Sen. Jack Reed shot back, calling it "illegal."


"Law and order is a civil function under the Constitution of the United
States -- civil enforcement, law enforcement authorities -- not the U.S.
military," Reed said.


"This is not only, I think, illegal, but also a diminution of the readiness
and focus of the military," he added.


ABC News' Peter Charalambous contributed to this report.




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 Los Angeles protests




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              Homeland Seeurity 0                                           _
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       Secret ary INoem and DltiS are THANKFUL for the heroic law enforcement
       in Los Angeles.. In th e face of rioter violence and disrespect th ey stand
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#USMSLosArigeles. together with @theJusticeDept, is actively assisting
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 NEWS

 DHS Secretary Kristi Noem attends ICE raid at Los Angeles County home
 by: Josh DuBose
 Posted: Jun 13, 2025 / 09:30 AM PDT
 Updated: Jun 13, 2025 / 11:54 AM PDT

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 Editor’s note: This article has been updated to include the intended target of the raid.

 HUNTINGTON PARK, Calif. (KTLA) – U.S. Homeland Security Secretary Kristi Noem joined federal immigration agents Thursday on a raid targeting
 a man with a criminal record at a Huntington Park, California, home, the agency said.

 The raid occurred Thursday morning when about a half-dozen vehicles carrying heavily armed, masked U.S. Immigration and Customs
 Enforcement agents converged on a home owned by a 28-year-old pregnant mother of four.


 Sabrina Medina said she was in the shower around 6 a.m. when her brother-in-law first saw the menacing presence in front of the family’s home.

 “I was just terrified, I’m not going to lie to you,” Medina told KTLA’s Rick Chambers. “I was shaking. I was scared. I’ve never gone through anything
 like this.”

 Medina said she looked out the window and saw 10 men dressed in tactical military gear, all carrying rifles.

 “I was like, ‘Am I dreaming or is this real?’” she said.
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           Department of Homeland Security Secretary Kristi Noem seen at an ICE raid at the Huntington Park home of a pregnant mother of four on June 12, 2025. (DHS)


           According to Medina, who is a U.S. citizen, the agents told her to exit her home with her children. Standing in the driveway, they showed her a
           warrant for her husband, listing his name as David Garcia.

           As she explained that her husband’s name is Jorge and that he was not at the house, one of the agents was captured on an outdoor home
           surveillance camera turning the device away from what was transpiring.

           Cameras inside the home captured the heavily armed ICE agents going through the residence room by room, all while Noem, wearing a
           bulletproof vest and ballcap, watched from the street.

           DHS later posted on X that the target of the raid was “an illegal alien from Mexico who had previously been deported. His criminal history
           includes drug trafficking and assault.”

           After hearing about the raid, L.A. County Supervisor Janice Hahn went to the Huntington Park neighborhood and spoke with some of Medina’s
           neighbors.

           “I’m very disappointed in this government right now and what they’re doing,” she told KTLA.

           Four months pregnant with her fifth child, the Huntington Park mother said if her husband is deported, the family’s future is bleak.

                                                                                                        CONTENT CONTINUES BELOW SURVEY


           “I’m not going to be able to pay my rent when I have to pay it,” she explained. “My husband is not here. I don’t know if they’re going to pick him
           up tomorrow, the day after tomorrow. It’s sad.”

           ICE agents, along with Noem, eventually left the home empty-handed, and the children were allowed back inside.

           For now, the family is unsure what the coming days will bring, but Medina said if her husband is deported, she and her children will likely follow
           him back to Mexico.

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                                                     GUEST ESSAY




           I Ran the L.A.P.D. I Know What Happens
           When Troops Are Sent to American Cities.
                                                       June 13, 2025




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By Michel R. Moore
Mr. Moore was the chief of the Los Angeles Police Department from 2018 to 2024.



Over the past week, President Trump has deployed more military troops to the streets of
Los Angeles than there are stationed in Iraq and Syria. The president has warned that if
protests break out in other cities, he’ll send troops to “attack” with even greater force.
“You’ll have them all over the country,” he said.

That would be a mistake. Deploying soldiers to any American city isn’t just at odds with the
principles of our democracy. It’s tactically unsound. Let me be clear: I admire the
honorable men and women who serve in our military. But they are not the right tool for this
mission — certainly not under these conditions and not without first exhausting the
substantial civilian resources already in place.

I speak from experience. Over the course of more than 40 years with the Los Angeles Police
Department — including nearly six as chief of police — I’ve seen what works and what
doesn’t in times of civil unrest. I was an officer during the 1992 Los Angeles riots, when
federal troops were last deployed to our streets. I witnessed the confusion and the risks
created by sending soldiers trained for combat into a civilian environment. Even basic
commands like   “cover
              Case       me” were misunderstood
                   3:25-cv-04870-CRB  Document 77-1— interpreted
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                                                                        troops
                                                                            138as calls for gunfire
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rather than tactical positioning. Whereas police officers are taught to use time, distance and
de-escalation, soldiers are trained to apply overwhelming force.

There is no question that serious unrest and violence have occurred in parts of downtown
Los Angeles. Attacks on buildings and threats to public safety must be taken seriously. But
this is not an insurrection. These incidents are localized, and local law enforcement
agencies are fully capable of addressing them.

California’s emergency response infrastructure is among the most advanced in the country.
Its emergency management system and mutual aid plan allow it to request help from
neighboring law enforcement agencies, the California Highway Patrol and, when needed,
the California National Guard. I have overseen the activation of these systems in response
to both natural disasters and overwhelming disorder. They work — and they are rooted in
principles of local control, coordination and public accountability. Deploying federal troops
undermines all three.


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The roles of the military and law enforcement are fundamentally distinct. Police officers are
trained to protect constitutional rights, use measured force and remain accountable to
civilian oversight. They operate within a legal framework grounded in probable cause and
community trust. The military, by contrast, is designed for combat operations under a chain
of command that originates in Washington. Military training, equipment and tactics are
optimized for warfare — not for safeguarding civil liberties or managing peaceful protest.

History reminds us of the dangers of blurring these lines. The tragedy at Kent State, where
unarmed student protesters were gunned down by National Guard troops, offers a stark
warning. The federal government’s deployment of military personnel now risks causing the
same escalation, tragic error and lasting damage to public confidence.

Sending in federal troops should always be a last resort, used only in cases of widespread
collapse of civil authority and only at the explicit request of local leaders. That is not what
happened in Los Angeles. The deployment appears to have been initiated without
meaningful consultation    or coordination
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                                                        county    officials.
                                                             06/16/25   PageThat
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                                                                                      unacceptable.
Effective policing depends on local leadership — on the knowledge and credibility earned
by those who live and work in the communities they serve.

This is not just a matter of proper procedure. Without a unified command structure, clear
rules of engagement and accountability mechanisms, introducing military personnel into a
volatile environment introduces more risk than reassurance. Who’s in charge? What are
the rules? What happens when missions conflict or orders diverge? These are not
questions to be figured out after boots hit the ground.

I’ve spent my career emphasizing the importance of proportionality and discipline in the
use of force. I’ve also witnessed the damage that occurs when those standards are not met.
After the 2020 civil unrest in Los Angeles, civilian oversight held officers accountable for
instances of excessive or unjustified force. That accountability is a cornerstone of civil
policing. It does not exist in the same way in military operations.

None of this is to say the military has no role in supporting civil authorities. In times of
natural disaster, true insurrection or total collapse of civil order, federal troops may be
warranted.

But this moment calls for clear thinking, not coercive overreach. It demands leaders who
know the difference between strength and domination. The streets of Los Angeles — and
cities across America — should be protected by those who are trained and equipped to
serve with restraint, accountability and a deep understanding of the communities they
serve.

Our democracy depends on it.
Michel R. Moore served in the Los Angeles Police Department for more than 40 years before retiring in 2024.

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A version of this article appears in print on , Section A, Page 23 of the New York edition with the headline: Deploying Troops Was a Profound Mistake
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LIVE: Kristi Noem holds a press conference in Los Angeles
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US Marines make first detention in LA as more protests expected
By Omar Younis, Brad Brooks, Phil Stewart and Idrees Ali
June 14, 2025 1:13 AM PDT · Updated a day ago




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   Summary        Companies

   Marines detain man for nearly two hours, hand him over to DHS
   Some 1,8000 anti-Trump demonstrations planned for Saturday
   LA County sheriff says fewer than 1% of demonstrators causing harm


LOS ANGELES, June 13 (Reuters) - U.S. Marines deployed to Los Angeles made their first detention of a civilian on Friday, part of a rare use of military force to support
domestic police and coming ahead of national protests over President Donald Trump's military parade in Washington.

The detention of the man, a U.S. Army veteran and an immigrant who obtained U.S. citizenship, punctuated a series of highly unusual events that have appealed to
                                                                                                                                                                            Feedback




Trump supporters but outraged other Americans who are demonstrating discontent in the streets.


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Trump ordered the Marines to Los Angeles in response to street protests over immigration raids, joining National Guard forces already deployed to the city over the
objection of California's governor. Trump said troops were necessary to quell the protests - a contention that state and local officials dispute.
About 1,800 protests are scheduled across the U.S. on Saturday in opposition to the Washington military parade that marks the 250th anniversary of the U.S. Army and
coincides with Trump's
                   Case79th birthday.
                            3:25-cv-04870-CRB                                         Document 77-1                           Filed 06/16/25                       Page 144 of 187
Both the military parade and domestic use of active duty troops are uncommon for the United States, as was the military detention of a U.S. citizen on American soil. It
was also unusual when federal agents forcibly removed and handcuffed a U.S. Senator on Thursday as he interrupted a press conference by Homeland Security
Secretary Kristi Noem.

Trump has thrived politically on unconventional tactics.


But Democratic opponents are starting to push back. Fifteen protests are expected in Los Angeles alone, Mayor Karen Bass said, urging people to remain peaceful.

"We are here today because the raids have caused fear and panic," Bass said, joined by two dozen elected officials to oppose the raids and military presence. "Can the
federal government come in and seize power from a state and from a local jurisdiction? How much will the American people put up with?"




About 200 Marines were assigned to protect the Wilshire Federal Building in Los Angeles, part of a battalion of 700 Marines sent to support the National Guard, said
Army Major General Scott Sherman, who is in command of both the National Guard and Marine forces.

The Marines and National Guard deployed in Los Angeles are assigned to protect federal property and personnel and may temporarily detain people, but they are
required to turn them over to civilian law enforcement for any formal arrest.

ARMY VETERAN DETAINED

Reuters witnessed Marines detain one person at the Wilshire Federal Building. Reuters images showed Marines restraining his hands with zip ties and then handing him
over to civilians from the Department of Homeland Security (DHS) nearly two hours later.




                                                                                                                                                                                                            Feedback




[1/21] U.S. Marines detain Marcos Leao, a 27 year-old veteran, outside the Wilshire Federal Building after Marines were deployed to Los Angeles, as protests against federal immigration sweeps continue,
in Los Angeles, California, U.S. June 13, 2025. REUTERS/Aude Guerrucci Purchase Licensing Rights



U.S. military confirmed the detention after being presented with Reuters images, in the first known detention by active duty troops.

The detained man, Marcos Leao, 27, an immigrant and a U.S. Army veteran, said after he was released that he was told to get on the ground upon venturing into a
restricted area, as he crossed a line of yellow tape to avoid walking around the building.

Leao, who said he is Portuguese and Angolan and became a U.S. citizen through the military, said he complied with all commands and that the Marines apparently
mistook him for a protester when he simply had business with the Veterans Administration office inside the building.
"They treated me very fairly," Leao said, adding that he was told, "Understand, this is a whole stressful situation for everybody, and we all have a job."
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Asked about the incident, the U.S. military's Northern Command spokesperson said active duty forces "may temporarily detain an individual in specific circumstances,"
and that the detention would end when the person is transferred to civilian law enforcement.

DHS referred press queries to the Northern Command.

Meanwhile, Los Angeles demonstrations continued for an eighth straight day, after they were sparked last Friday by a series of immigrations raids.

The demonstrations have been concentrated in the downtown area, and fewer than 1% of those present have caused problems, Los Angeles County Sheriff Robert Luna
said.

Some people have been charged with assaulting a police officer, looting, or damaging property.

There was a "big difference" between legitimate protesters and "people who are coming out to cause problems," Luna said at a press conference in which law
enforcement officers said they welcomed peaceful protests on Saturday but warned they would arrest those who harm others or damage property.

Bass implemented a curfew over one square mile (2.5 square km) of the downtown area, which officials said has been useful for maintaining order.

Bass said there was "no termination date" for the curfew.

"We are hoping that if the cause of the turmoil ends, which is stopping the raids, then I can almost guarantee you the curfew will go away in short order," Bass said.

Reporting by Omar Younis, Brad Brooks, Sebastian Rocandio, Arafat Barbakh, Rollo Ross and Alan Devall in Los Angeles and Phil Stewart and Idrees Ali in Washington; Writing by Costas Pitas
and Daniel Trotta; Editing by Mary Milliken, Mark Porter, David Gregorio, Rod Nickel, Sandra Maler and Raju Gopalakrishnan


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  Arabia, China and South Sudan. An award-winning Washington-based national security reporter, Phil has appeared on
  NPR, PBS NewsHour, Fox News and other programs and moderated national security events, including at the Reagan
  National Defense Forum and the German Marshall Fund. He is a recipient of the Edwin M. Hood Award for Diplomatic
  Correspondence and the Joe Galloway Award.


                Idrees Ali
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  National security correspondent focusing on the Pentagon in Washington D.C. Reports on U.S. military activity and
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                                  who shot Minnesota                                                                                    suspect told friend in text
weighs adding 36                                                    Supreme Court as                   test of Trump's grip on                                            Emeritus Leonar
                                  lawmakers while posing as                                                                             message: I might be dead
countries to travel ban                                             politically neutral:               competitive state                                                  dies at 92
                                                                                                                                                                                              Feedback




                                  officer                                                                                               soon
                                                                    Reuters/Ipsos poll
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Search incidents and safety information


SEARCH

               Current Emergency
                    Incidents
       Ongoing emergency responses in California, including
                              all 10+ acre wildfires.




268,101                     2,353           76,292                       30
       Total                 Wildfires           Acres                Fatalities
  Emergency                                    Burned
  Responses
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                                                                                                        
                                                                                                        Maps
          


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        LAYERS




                                                                                                                
            Air Assets        Evacuation Orders and Warnings              Recent Perimeters             Wind

            Fires 10 Acres or Less          Prescribed Fires         5-Year Fire History          Lightning

            Red Flag Warnings           Smoke and Haze




                                                               Search:         Search incidents
       CURRENTLY ACTIVE INCIDENTS

                      ▲                      ▲
        INCIDENT      ▼      COUNTIES        ▼      STARTED ▲
                                                            ▼            ACRES ▲
                                                                               ▼           CONTAINMENT ▲
                                                                                                       ▼



        Dogs Fire           Kern                     6/13/2025               4,407                  100%


        Ranch Fire          San                      6/10/2025               4,293                    80%
                            Bernardino


        Bitter Fire         San Luis                 6/14/2025               1,300                    90%
                            Obispo


        Firestone           Fresno                   6/12/2025                  482                   90%
        Fire


        Riosa Fire          Placer                   6/15/2025                   40                   20%


        Miller Fire         Trinity                  6/09/2025                   30                   20%


        Ford Fire           Colusa                   6/11/2025                   14                 100%



              ALL 2025                3D          The information presented here reflects what is known to CAL FIRE
            INCIDENTS                 MAP         and is updated frequently. Learn more about data processing
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  Seasonal Outlook
  The fire outlook for California from April
  through July 2025 highlights differing
  regional risks as the state transitions
  toward fire season.

  In Northern California, significant
  precipitation in March and lingering
  snowpack at mid to upper elevations
  will continue to act as barriers to fire
  spread through May. However, weather
  patterns are expected to shift toward
  warmer and drier conditions from May
  into July, increasing the flammability of
  lowland areas... particularly oak-
  woodlands away from marine layer
  influence. Despite this shift, significant
  fire potential remains normal for now,
  aligning with historical patterns during
  spring months.

  Southern California, on the other hand,
  continues to experience severe to
  exceptional drought, especially across
  the South Coast and Colorado Desert.
  While the region initially saw limited
  grass and fine fuel growth earlier in the
  season, late-season rains have since
  promoted herbaceous growth. These
  fine fuels will become increasingly
  flammable once cured, adding to the
  risk of large fires..,. especially in timber-
  dominated mountainous areas where
  precipitation has remained below
  average since October 2024.

  The likelihood of above-normal
  significant fire potential is projected to
  increase in Southern California from late
  spring into summer. A transition from La
Case 3:25-cv-04870-CRB Document 77-1               Filed 06/16/25     Page 150 of 187
  Niña to neutral conditions is expected
  during this time, which may reduce
  predictability in fire weather but could
  strengthen coastal marine layer effects
  in some areas.

  Overall, Northern California maintains
  normal fire potential through May, while
  Southern California (particularly the
  South Coast) faces a growing threat of
  large fires due to persistent drought and
  increasingly flammable fuels.


     STATISTICS


     GET SMS ALERTS     


  INCIDENTS BY YEAR


  ACTIVE 2025 2024 2023 2022

  2021 2020 2019 2018 2017 2016




                                          DATA ACCESS FOR SOFTWARE
                                          DEVELOPERS


                                          Incident Data
                                          Incident data is provided in raw, computer
                                          readable formats and requires further
                                             processing using specialized software. Two
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                                             additional API parameters include year
                                                 (values include a year in the YYYY format)
                                                 and inactive (values include true and false).
                                                 CAL FIRE doesn’t provide software
                                                 development support at this time.




                                                     ALL DATA AS CSV



                                                     JSON API              GEO JSON API




DISCLAIMER

Information presented on the departments website is a representation of the existing wildfire
situation, based on the information readily available to CAL FIRE. We make every effort to provide
accurate and complete information, however the data is subject to review and change. This site
provides general information concerning an incident. All of our information comes from the
firelines and must be approved by the Incident Commander in charge of managing the incident
prior to release. As battling a fire, or handling any other disaster is the priority, updates to these
sites cannot be guaranteed on a set time schedule. Please use the information on these pages only
as a reference. The sites are not meant to provide up-to-the-minute evacuation or fire behavior
information. Please refer to the fire information phone numbers provided on this site, and website
links for additional information, and monitor your local radio stations for emergency broadcasts. If
you live in a wildland area always have an evacuation plan in place. Fires occur throughout the
State within CAL FIRE jurisdiction on a daily basis during fire season. However, the majority of those
fires are contained quickly and no information will generally be provided on these incidents at this
site if the fire burns less than 10 acres. If you would like to obtain information about a CAL FIRE fire
burning in your area that is not included on this web site, please contact the CAL FIRE Unit that
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 LAPD

 How mostly peaceful ‘No Kings' rally in
 downtown LA suddenly turned chaotic
 New groups of people were seen arriving at the rally, throwing objects at law enforcement officials
 at around 4 p.m. Saturday.

 By Helen Jeong • Published June 14, 2025 • Updated on
 June 14, 2025 at 7:37 pm


                                                                        Trending Stories
                                                                                   IMMIGRATION
                                                                                   Tourists share their
                                                                                   impressions of Los Angeles
                                                                                   during a week of protests

                                                                                   RIVERSIDE
                                                                                   1 person injured after car rams
                                                                                   into ‘No Kings' protesters in
                                                                                   Riverside

Within minutes, more law enforcement personnel came out to the area               PROTESTS
where unlawful assembly was declared This video was broadcast durin               Saturday recap: 7 LAPD
                                                                                   officers injured in altercations
After more than 200,000 people peacefully marched and                              with ‘agitators' in downtown
                                                                                   LA
gathered in downtown Los Angeles for the planned “No
Kings” protest on Saturday, the mostly cordial or even                             IMMIGRATION
harmonious rally drastically changed the tone late Saturday                        Federal agents appear at
afternoon.                                                                         Santa Fe Springs Swap Meet

                                                                                   PALM SPRINGS
The Los Angeles Police Department issued a dispersal order                         Arrest made after man
in parts of downtown Los Angeles, especially around the                            threatens to shoot at ‘No
                                                                                   Kings' protest in Palm Springs
Hall of Justice building on Spring and Temple Streets, as
some protesters began throwing objects at officers at                              SPONSORED
around 4 p.m.                                                                      Use This Godzilla 70th
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Deputies with the Los Angeles County Sheriff’s   Department            MIGILIFE          Shop Now
               Case 3:25-cv-04870-CRB DocumentLOCAL      NBC4 INVESTIGATES
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also notified that “something shifted” with the rally.


“You started to have these agitators who came here with the             Weather Forecast
                                                                        LOS ANGELES, CA
purpose of creating chaos, and they started to attack police
officers and deputies,” LA County Sheriff Robert Luna told                                   TONIGHT
NBC Los Angeles Saturday evening.
                                                                        87°                  61°
Luna said at least one deputy was injured as well as a horse                                 TOMORROW
                                                                        Fair
from the department’s Mounted Enforcement Detail division.
The LAPD did not report any officer injuries as of Saturday
                                                                        0% Precip
                                                                                             86°
afternoon.


“You literally have people attacking horses. That’s crazy,”
Luna added.



        Groups of ‘agitators' organize, plan to disrupt …




Local
Get Los Angeles's latest local news on crime, entertainment,
weather, schools, cost of living and more. Here's your go-to
source for today's LA news.

                         LOS ANGELES • 1 HOUR AGO
                         30+ arrests made in Saturday's
                         downtown LA protest: LAPD
                                                AGO LOCAL 77-1
                         PALM SPRINGS • 2 HOURS Document
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                             Arrest made after man threatens
                             to shoot at ‘No Kings' protest in…


The LAPD also said the peaceful rally was interrupted when
a small group of “agitators” began to show up.


“They had high ground on a pedestrian overcross bridge and
began throwing rocks and bottles and projectiles at our
officers,” LAPD Deputy Chief Emada Tingirides said,
explaining the assaults on officers prompted the
department to declare an unlawful assembly.


Luna and Tingrides both said the violent protesters “ruined”
the rally, forcing peaceful participants to disperse and leave
the area.


“These individuals that are out there committing acts of
violence, really just criminal acts, are running the message,”
Luna said. “In my opinion, it’s falling right into the message
of the other side of this.”


Tingrides echoed Luna’s concerns about the small group of
people “wreaking havoc.”


“It’s absolutely unacceptable to throw high-grade fireworks,
rocks and bottles not only at our law enforcement officers
but also toward individuals, families and children that are
trying to express their First Amendment rights.


A limited curfew will go into effect again Saturday for part of
downtown Los Angeles from 8 p.m. to 6 a.m. It includes
about 1 square mile of downtown Los Angeles from the 5
Freeway to the 110 Freeway and the 10 Freeway to the point
where it merges with the 110 and 5 freeways.



This article tagged under:
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LIVE UPDATES
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      Trump Salutes the U.S. Army During Massive Military Parade
     Last Updated: Jun 15, 2025, 10:43 AM EDT
1 day ago


Arrests in Los Angeles Rose–And Then Fell–During Week of Protests
By Jennifer Calfas
Arrests in Los Angeles Protests
The number of arrests rose then fell during week-long protests against immigration raids

Arrests in Los Angeles Protests

250

225

200

175

150

125

100

 75

 50

 25

  0
               June 7

June 8 figure includes total arrests by three law enforcement agencies.
Source: Los Angeles Police Department

The Los Angeles Police Department arrested hundreds of protesters over the last
week during nightly demonstrations against the Trump administration’s
intensifying efforts to deport people living illegally in the U.S

The highest number of arrests came on Tuesday, the first night the city
implemented an 8 p.m. curfew for a portion of downtown. Since then, arrest
numbers have dropped each night and have largely been related to failure to
disperse or curfew violations.


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         Post

        Rapid Response 47 $ ■                                                                 fZi •••
        @RapidResponse47


         oonalel J, Tr~mp-
         @rea Donal<JTr ump

  Ou Nation's ICE Officers av,e shown incredible strength, determiriatio , and courage as
  they facillitate a very important miss.ion, the largest Mass Deportai 1ion Operatio of llllegal
  Allens i History. very da,y, the Brrave Men and Women of ICE are sub,Jected to violence,
                      1



  harassment, and ev,en threats from Radical Democr.at Politicians, but not ing will stop us
  from execLJting our m·ssion, and fulfi lling our !Mandate to the American People. ICE
  Offic,ers are herewith order,ed, by notice, of this TRUTH,. to do all in their power to
  achieve the very important goal of deliveiring the single largest Mass Deportation
  Program in History.

  In order to achieve this, we must expand efforts to detaiin and deport illlegal Allens in
  Amencais largest Cities, such a,s Los Angeles, Chicago, a d New York, where Millions
  upon Millions of Illegal Allens r,esiidle. These, a,nd other such Cities, ar,e the core of the
  Democrat Plower Genter, where t ey use lllega Aliens to expa ,d their Voter 1Base, cheat
  in Elec io s, and grnw he Welfare State, robbing good paying Jobs and Benefits from
  Hardworkiir1g1American Citiz,ens. These Rad·cal Left Democrats are sick of mindl, hate our
  Country, a d actually wan- to destroy our In er Cities -Andi they are doing a g1ood job
  of it! lihere is something1wrong with them. That is why they believ,e in Open Borders
  lransgie dler for verybody, and Men playing i11 Women's Sports- And that is why I
  want ICE, Border Panol, and our Great and Patriotic law Enforcement Officers, to
  FOCUS on our crime ridden andl deadly I ner Cities, and those places where Sanctuary
  Cities play such a big rol<e. You do 't h•ear about Sanctuary Cities in our Heartland!

  I want our Brave ICE Officers to know that REAL Americei11s are ,cheeriing you on every
  day. Tlhe Amer ican People want ou r Cities,. Schools, and Commun·ties to, be· SAFE and
  FREE from Illegal AHen Crime, Conflict, and Ghaios. That's why I have directed my entir,e
  Administra ion to pu every resource posst le behind this effort, and rev-erse the tide of
  Mass Destruction Migration that has turned once Idyllic Towns into scenes o Third
  World Dystopia. Our Federal-Government will c,ontinue to be focused on ·the
  R; IGRATION of Aliens to the places from wh,er,e they came, and preve ting the
  admission of ANYONE who• undermines the domestic tranquility of the United States.

  lo ICE FBII, DEA, An=, t e Patriots at Pentagon a d the State Department, you have my
  unwavering support Now go, GET THE JOS. :DONIE! DJT


5:47 PM • Jun 15, 2025 • 3.1M Views


 Q1.5K                    L"°l 4.9K              024K                     [:) 1.1K
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81°                                                                                                                                                   LIVE
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 LOCAL NEWS

 More than 500 arrests made over 8 days of protests in Los Angeles: LAPD
 by: Will Conybeare
 Posted: Jun 15, 2025 / 12:54 PM PDT
 Updated: Jun 15, 2025 / 12:54 PM PDT

 SHARE



 The Los Angeles Police Department says more than 500 arrests have been made in connection with protest activity over the course of eight days.

 In a media release issued Sunday, LAPD confirmed that, since June 8, a total of 561 arrests were made related to protests across Los Angeles.

 A dozen LAPD officers have been injured due to protest activity since June 8 as well, LAPD said, including three on Saturday. According to police,
 38 arrests were made on Saturday night for various charges, including 35 for curfew violations, one for failure to disperse, one for resisting,
 obstructing or delaying a police officer and one for resisting arrest.


  Man with gun arrested after trying to start fight at Orange County protest

 “During the crowd control situation, numerous less-lethal munitions were used,” LAPD’s media release stated. The department was unable to
 comment on one man’s testicle being “shattered” after he was shot by a rubber bullet from close range.
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         Los Angeles County Sheriffs arrest a demonstrator during a protest Saturday, June 14, 2025, in Los Angeles. (AP Photo/Ethan Swope)           A protester is seen being detained on the 7th day of protests in Los Angeles. June

       1/6


           Saturday’s protests were part of the “No Kings” movement that spurred demonstrations across Southern California and across America. They
           remained much more peaceful than the protests over federal immigration raids in the L.A. area over the past week that, at times, turned violent
           and destructive.

           Los Angeles police released arrest numbers by day starting on June 7:

               June 7: 29 arrests for failure to disperse
               June 8: 21 arrests; charges range from attempted murder with a Molotov cocktail, assault with a deadly weapon on a police officer, looting
               and failure to disperse
               June 9: 96 arrests for failure to disperse, 14 arrests for looting, one each for assault with a deadly weapon, resisting arrest and vandalism
               June 10: 203 arrests for failure to disperse, three for firearms possession, one for assault with a deadly weapon on a peace officer and one for
               discharging a laser at an LAPD airship; there were also 17 arrests for curfew violations (the curfew instituted by L.A. Mayor Karen Bass went
               into effect at 8 p.m. that night)
               June 11: 71 arrests for failure to disperse, seven for curfew violations, two for assault with a deadly weapon on a police officer, one for
               resisting a police officer
               June 12: 33 arrests for failure to disperse, 13 for curfew violations, one for resisting a police officer and one for pointing a laser at an LAPD
               airship. One person who was detained for violating curfew was also arrested on a robbery warrant
               June 13: 18 arrests for curfew violation, one for assault with a deadly weapon
               June 14: 35 arrests for curfew violation, one each for failure to disperse, resisting, obstructing or delaying a police officer and resisting arrest

           The next update on arrests connected to protest activity is expected Monday morning.

           While LAPD stated a total of 561 arrests were made, the data provided by officials indicates that 574 arrests were made, which equates to roughly
           70 to 71 arrests per day.

           KTLA has reached out to the department for more information on the discrepancy.

                                                                                                                   Suggest a Correction



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                    24/7 Live                                                     78°




  SOCIETY


Several people taken into custody during
immigration raid at Santa Fe Springs Swap
Meet
By Tim Pulliam and Amanda Palacios
Monday, June 16, 2025 12:36AM

Este artículo se ofrece en Español




Several people were taken into custody Saturday afternoon during an apparent immigration raid at the
Santa Fe Springs Swap Meet.




SANTA FE SPRINGS, Calif. (KABC) -- Several people were taken into
custody Saturday afternoon during an apparent immigration raid at the
Santa Fe Springs Swap Meet.


The operation unfolded around 3:30 p.m. along Alondra Boulevard, just
off the 5 Freeway.
AIR7 was above the scene and captured exclusive video of U.S.
 Case 3:25-cv-04870-CRB Document 77-1 Filed 06/16/25 Page 167 of 187
Department of Homeland Security agents on the property, taking
people into custody.


Several people were at the swap meet for a Saturday night concert,
which was later canceled.


"First of all, it was a little unbelievable because I've been seeing it, and it
hadn't directly happened to me," said one visitor. "I don't live in this
area, I live in the San Fernando Valley, so to see it firsthand was kind of
shocking, but also very disheartening. My father came to this country
in 1968 and works very hard. I know a lot of Latinos work really hard,
it's just disheartening the amount of fear that they're creating."


One witness said the agents were asking people where they were from.


"I told them I was from the United States, and then they proceeded to
walk away, and they took a picture of me with a specialized cellphone
camera," he said. "I took it as a personal threat. I have an uncle who
served in World War II. I have an uncle who served in Korea."


Eyewitness News contacted Homeland Security Investigations for
details on Saturday's operation, but has not received a response.


On Sunday, the Santa Fe Springs Swap Meet reopened, but was mostly
empty after Saturday's raid.


CORRECTION: A previous version of this story stated that
Marines were also present during the raid, but according to the
U.S. Department of Defense, there were no Title 10 forces or U.S.
Marines present at the Santa Fe Springs Swap Meet, and the
Department of Defense was not involved in the operation. This
post has been updated to reflect that correction.



Report a correction or typo
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                IMMIGRATION                ICE         RAID          LOS ANGELES




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California’s Wildfires Could Be Brutal This Summer
Experts say there could be more large wildfires than usual this year. Here’s why.


      Listen to this article · 6:21 min Learn more



         By Amy Graff
         Amy Graff is a reporter on The Times’s weather team. She is based in San Francisco.

June 16, 2025   Updated 2:21 p.m. ET


With Los Angeles still recovering from the devastating fires that killed at least 30 people
and destroyed thousands of homes, California’s residents are being warned that the
summer, typically the worst season for wildfires, could be especially brutal this year.

Every summer across the state, the atmosphere dries up and the temperatures turn warm,
sucking moisture from the landscape and turning the parched vegetation into kindling,
ready to burn under the right conditions. This year, forecasters are already seeing signs
that the pattern could be more intense than usual.

The snow in the Sierra Nevada, the frozen reservoir that moistens the landscape through
the spring, is nearly gone; it melted off earlier than normal. This year’s grass crop is
plentiful, especially in Northern California, which received more rain than the southern
part of the state, and it’s already fueling fires as it dries out. And forecasters predict the
summer will be exceptionally hot.

All of this adds up to a higher probability of more large wildfires than usual this summer,
with the possibility that even the smallest spark could explode into a significant wildfire if
not stopped quickly.

“The thing with wildfires is it could be the hottest summer on record, but to have fires, you
need ignitions,” said Dr. Dan McEvoy, a regional climatologist at the Western Regional
Climate Center in Reno, Nev.
In addition toCase
               a tough  weather forecast,
                   3:25-cv-04870-CRB      firefighting
                                      Document         efforts
                                                77-1 Filed     face a Page
                                                           06/16/25   new 171
                                                                           challenge
                                                                              of 187 this year:
cuts to the federal agencies that assist with firefighting, prevention and recovery, including
the National Weather Service, the U.S. Forest Service and the Federal Emergency
Management Agency.

Tim Chavez, an assistant chief with Cal Fire, the state’s firefighting agency, said that even
before this year’s sweeping changes, part of President Trump’s efforts to remake the
government work force, some federal agencies were “struggling to keep their engines
staffed.” If the staffing shortage worsens, he said, Cal Fire expects it will have to take up the
slack on fires burning on federal land that are usually managed by the Forest Service.

“That impacts our ability to respond to our own state responsibility fires,” Mr. Chavez said.
“There’s no doubt about it, especially when it comes to aircraft and crews, which is always
the first thing you run out of.”

Wildfire season in California is year-round.
In a changing climate, wildfires in California went from a seasonal hazard to year-round
catastrophes, but the peak, when fires are most abundant and the most acres burn, is still
June through October.

Several small fires have already raced across the rolling hills of Northern California, where
the healthy grass crop dried out this spring as temperatures warmed up.


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Last month, the Inn fire burned in the Eastern Sierra foothills outside Yosemite National
Park, threatening Mono City.

“This fire activity in the Eastern Sierra kind of worries me,” Mr. Chavez said. “I can’t
remember a fire in the Eastern Sierra that went up the mountains like that one did. Usually
they burn through the river bottom and stay in the flats, and once they get on the slope,
they kind of go out.”

More fires, and much bigger ones, are expected in the months ahead. By September,
officials predict fire activity across most of the state will be above normal this year.
In the last 10 years, the total numberDocument
               Case 3:25-cv-04870-CRB  of acres 77-1
                                                burned  by06/16/25
                                                     Filed significant wildfires
                                                                    Page         has varied
                                                                         172 of 187
from year to year. In 2020, when dry lightning sparked an outbreak of wildfires across
Northern California, more than 4.3 million acres burned, but in 2022 and 2023, only about
300,000 acres burned each year. On average, about 1.4 million acres burn a year.




            The melting of the snowpack in the Sierra Nevada, shown here in December, affects
            wildfire season. Most of it had melted from everywhere but the highest elevations by
            June. Emily Najera for The New York Times



The snowpack in the Sierra Nevada is a crucial data point for the summer wildfire outlook.
A robust snowpack delays wildfire season, but a meager one, like this year’s, accelerates it.
Most locations melted off several days to weeks earlier than usual because of warm, clear
days in spring, and snow remained only at the highest elevations into June.

Weather models forecast that temperatures from July through September will fall within
the warmest 20 percent of recent summers, according to Daniel Swain, a climate scientist
at the University of California, Los Angeles.

“This summer looks to be pretty high in the record books, and that has some significant
implications for fire season,” Mr. Swain said.

When the heat waves break down, winds are expected to pick up, fanning vegetation and
drying it out even more and spreading any fires that have started.
“I’m expecting this3:25-cv-04870-CRB
             Case    summer to be theDocument
                                      year of 77-1
                                              wind and
                                                   Filedheat,”  saidPage
                                                         06/16/25    Brent
                                                                         173Wachter,
                                                                             of 187  a fire
meteorologist with the U.S. Forest Service in Redding, Calif.


This year’s summer wildfire forecast is very different from last year’s.
It can be difficult to predict wildfire activity.

In 2024, officials predicted the summer would bring below-normal wildfire activity to some
areas, in part because the snowpack was robust after a wet winter and expected to provide
relief well into summer. Long-term forecasts at the time suggested below-normal
temperatures.

The forecast didn’t pan out.

“We basically had a two-week-long heat wave event at the start of July, which is
unprecedented,” Mr. Wachter said.

The heat set up the conditions for the Park fire, which tore through 430,000 acres in the
wilderness of Northern California in August, becoming the fourth largest wildfire in state
history.




             The Park fire last year was the fourth largest in California’s history. Loren Elliott for The
             New York Times
Mr. Wachter said
              Casethe  prolonged heatDocument
                   3:25-cv-04870-CRB   wave dried
                                                77-1theFiled
                                                         landscape
                                                             06/16/25 in Page
                                                                         what174
                                                                              heofcalls
                                                                                   187 a “flash
drought” and set the stage for a fire of that size in a summer when reservoirs were full after
a wet winter.

“If it just was a three-day heat wave event, the likelihood of that fire exploding that quickly
in a short amount of time, just in a few days, I just don’t think it would have been that way,”
he said.

Mr. Wachter anticipates that this summer will bring more flash droughts, intensifying
existing drought conditions in Southern California after a dry winter and creating drought
conditions in Northern California.

“I think flash drought is going to be one of the buzz words this summer, and that’s mainly
from the heat waves being more extended,” he said.
Amy Graff is a Times reporter covering weather, wildfires and earthquakes.
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                            EXHIBIT 37
      Los Angeles Ice protests

      At Home Depot, Ice raids terrorize the
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      workers who helped build LA: ‘They just
      come and grab you’
      Undocumented laborers have long gathered in the chain’s
      parking lots hoping to get hired, but now there is a ‘terrible
      fear’




         A Home Depot worker cleans up the store’s sign a day after clashes between protesters and law
      enforcement, in Paramount, California, on 8 June. Photograph: Jill Connelly/Reuters


      Maanvi Singh in Los Angeles
      Mon 16 Jun 2025 07.44 EDT


      The white vans zipped into the parking lot of the Home Depot in central Los
      Angeles.

      Pedro watched from the corner as masked federal immigration agents
      emerged before grabbing and handcuffing people.

      There were a hundred or so day laborers milling about the home
      improvement megastore’s sprawling parking lot – soliciting construction
      work from homeowners and contractors – plus Home Depot shoppers and a
      number of food vendors. Everyone was suddenly frantic.

      It took a few seconds for Pedro to grasp what he was seeing. Unlike most of
      the other workers and vendors there, the 27-year-old from Mexico had a
      legal residency status, so he jumped up to help, trying to usher away
      workers. Schools were out for the summer, so a couple of the vendors had
      brought their children with them that day. “Imagine – young children,” he
      said. “They all started to run.”

      That raid – and subsequent ones at a nearby garment manufacturer in
      downtown LA – sparked massive protests in LA, which the Trump
      administration tried to quell by mobilizing thousands of national guard
      troops. It also disrupted and destabilized the little economy at the Home
      Depot parking lot, along Wilshire Boulevard and Burlington Avenue, in ways
      that Pedro said he’s still trying to understand.
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         A road blocked with shopping carts during a clash between protesters and federal agents near
      the Home Depot in Paramount. Photograph: Allison Dinner/EPA




        A protester is arrested near the Home Depot in Paramount. Photograph: Allison Dinner/EPA

      In the days after, vendors selling lunch and fruits stopped coming. Hardly
      any workers came. “Look – nothing, just silence,” Pedro said as he gestured
      around. “I have never seen anything like this before. Not here. Never here in
      LA.”

      The immigration enforcement raids in California have been targeting
      undocumented immigrant workers all across southern California – at donut
      shops, car washes, factories and farms.

      But among the most common sites have been Home Depots. The chain has
      long maintained an unofficial, symbiotic relationship with the
      undocumented laborers who gather in store parking lots, hoping to get hired
      for a day of painting, landscaping or roofing.

      Federal agents trialled the tactic in January, when they rounded up
      immigrants at a Home Depot in California’s agricultural Kern county. Over
      the past week, agents have visited Home Depot parking lots in the LA
      suburbs of Huntington Park, Santa Ana and Whittier.

      “These workers, this community, has been here for decades,” said Jorge
      Nicolás, a senior organizer at a day labor center called Central American
      Resource Center (Carecen). The group maintains a resource center for
      workers abutting the Home Depot lot in LA’s Westlake neighborhood, near
      downtown. On Fridays, the organization distributes food there – but since
      the raid, they have stopped, to avoid putting workers and families at risk.

      “There’s a lot of emotions, a lot of sadness,” he said.

      There is also indignation. The raids have entrapped the very immigrant
      workers who have built, roofed, painted and wired much of the city, he said.
         Many of these workers have been helping clean and rebuild communities in
       LA that burned in fires that raged
Case 3:25-cv-04870-CRB                    across the
                                    Document         region this
                                                   77-1          winter.
                                                             Filed   06/16/25                  Page 178 of 187




           Protesters in Paramount on 7 June. Photograph: Allison Dinner/EPA

         Nicolás was nearby when the agents arrived on Friday.

         For laborers who escaped military juntas and gang violence in their home
         countries, the masked, armed agents triggered painful flashbacks to cartel
         kidnappings. “It looked like a war zone,” he said.

         Lawyers said they had been blocked from speaking to immigrants who were
         held in the basement of federal administrative buildings in downtown LA for
         days, without adequate food or water. Some were transferred to detention
         centers in California’s high desert, or in Texas. At least a handful of people
         were deported to Mexico almost immediately, according to lawyers.

         The Department of Homeland Security (DHS) flatly denied that attorneys
         had been barred from seeing detained clients. “These allegations are FALSE,”
         spokesperson Tricia McLaughlin said, despite documented evidence that
         attorneys and even congressional representatives were barred from speaking
         to detainees this week.

         In the days following the raids, Nicolás and other advocates struggled to
         track the day laborers who had been arrested. “It really does look like a
         kidnapping,” he said.

         Agents have picked off people with brown skin seemingly at random, said
         Nicolás. “Even workers with legal status are worried.”


         ‘It is a terrible fear’
         On Monday, Eduardo saw another raid unfold at a Home Depot in
         Huntington Park, a city where nearly 97% of residents are Latino or Hispanic.

         “They just come and grab you, like grabbing a baby,” said the 45-year-old day
         laborer. “They don’t ask any questions.”

         He watched the whole thing from inside his flatbed truck. It was so fast – all
         of a sudden, a rush of vans, and a flood of armed agents.

         He got lucky – they didn’t look his way.

         “It is difficult to describe. It is a terrible fear,” he said. “It feels like a sandbag
         falling on your body. Your vision starts to darken – because the American
         dream is escaping you at that moment. And all you can do is dream of your
         land, imagine what it would be to go back after so many years.”

         Eduardo came to the US from Honduras 18 years ago. His older daughter is
         almost 24, and his younger is nine, and they were worried about him
         returning to the Home Depot on Thursday. He was worried, too. “But they
         already came, and they left me alone,” he said, shrugging. “And I need the
         work.”
        Only two other laborers and a couple of food vendors decided to take the risk
       that day. There seemed to beDocument
Case 3:25-cv-04870-CRB              fewer Home Depot
                                               77-1 shoppers
                                                       Filedas06/16/25
                                                               well.                             Page 179 of 187
        Across the lot, Carlos, 48, was scanning the half-empty scene. On a typical
        day, he would make $200, maybe even $300, selling fruit out of the back of
        his minivan. But since the raids began, he’s scarcely seen a customer. He
        expects he’ll make maybe $50 this week, if he’s lucky.




          Graffiti near the Home Depot in Paramount, on 7 June. Photograph: Allison Dinner/EPA

        He was at home when the raid happened, and friends messaged him to warn
        him not to come. He returned to the Home Depot the next day, despite the
        objections from his nine-year-old son, who was terrified he wouldn’t come
        back. But he’s a single dad, and he has to make rent. “I told him God watches
        over us,” he said.

        ‘Everything is different since the raid’
        Across the city, day laborers and street vendors were similarly weighing the
        dangers of showing up to work against the risks of staying home and losing
        income.

        On Thursday in Paramount – a predominantly Latino suburb of LA, where
        the presence of federal agents last Saturday triggered a roaring protest –
        there were no workers outside the local Home Depot.

        But larger numbers of customers and workers had begun to return to Home
        Depot in the Westlake neighborhood – which was among several locations
        hit by federal agents in central LA on Friday – after volunteers showed up
        this week to patrol the street corners for Ice agents. “Now we’re ready for
        them,” said Diego, a 75-year-old day laborer and sometime flower vendor
        from Guatemala.

        Still, everybody was on edge. There was far less work than usual, far fewer
        customers slowing their cars. “When someone does stop, there’s like a
        mountain of workers rushing over,” he said. “And usually they just want to
        hire one or two people.”

        Even if the lot looks the same as always, said Daniel, 45, it’s not. “Everything
        is different since the raid. Nothing is the same,” he said.

        He plans to look for work here for as long as he can. “We are here because of
        the luck of the draw,” he said. “We do not know what is going to happen
        from here on.”

        Note: The Guardian is not using the full names of any workers in this piece, to
        protect their privacy and safety


         Why you can rely on the Guardian not to bow to Trump – or anyone
         I hope you appreciated this article. Before you move on, I wanted to ask whether you
         could support the Guardian’s journalism as we face the unprecedented challenges of
         covering this administration.
          As Trump himself observed: “The first term, everybody was fighting me. In this
        term, everybody wants to be
Case 3:25-cv-04870-CRB              my friend.” 77-1
                                  Document                          Filed 06/16/25             Page 180 of 187
          He’s not entirely wrong. Already, several large corporate-owned news organizations
          have settled multimillion-dollar lawsuits with the president in order to protect their
          business interests. Meanwhile, billionaires have intervened editorially in the news
          outlets they own to limit potentially unfavorable coverage of the president.
          The Guardian is different: we have no interest in being Donald Trump’s – or any
          politician’s – friend. Our allegiance as independent journalists is not to those in
          power but to the public. Whatever happens in the coming months and years, you can
          rely on the Guardian never to bow down to power, nor back down from truth.
          How are we able to stand firm in the face of intimidation and threats? As journalists
          say: follow the money. The Guardian has neither a self-interested billionaire owner
          nor profit-seeking corporate henchmen pressuring us to appease the rich and
          powerful. We are funded by our readers and owned by the Scott Trust – whose only
          financial obligation is to preserve our journalistic mission in perpetuity.
          What’s more, in a time of rising, democracy-threatening misinformation, we make
          our fiercely independent journalism free to all, with no paywall – so that everyone in
          the US can have access to responsible, fact-based news.
          With the administration already cracking down on free speech, banning reporters
          from the Oval Office, and the president and his allies pursuing lawsuits against
          news outlets whose stories they don’t like, it has never been more urgent, or more
          perilous, to pursue fair, accurate reporting. Can you support the Guardian today?
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          impact, enabling greater investment in our most crucial, fearless journalism. As our
          thanks to you, we can offer you some great benefits – including seeing far fewer
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          consider it. Thank you.




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                            EXHIBIT 38
      An official website of the United States government
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  Delegation of Immigration Authority Section 287(g) Immigration and
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                                                                            Partner With ICE Through the 287(g) Program


ICE’s 287(g) Program

The Illegal Immigration Reform and Immigrant Responsibility Act of 1996 added Section 287(g) to the Immigration and
Nationality Act (INA) — authorizing U.S. Immigration and Customs Enforcement (ICE) to delegate to state and local law
enforcement officers the authority to perform specified immigration officer functions under the agency’s direction and
oversight.

The 287(g) Program enhances the safety and security of our nation’s communities by allowing ICE Enforcement and
Removal Operations (ERO) to partner with state and local law enforcement agencies to identify and remove criminal
aliens who are amenable to removal from the U.S.

ICE recognizes the importance of its relationships with its law enforcement partners to carry out its critical mission.

The 287(g) program allows ICE — through the delegation of specified immigration officer duties — to enhance
collaboration with state and local law enforcement partners to protect the homeland through the arrest and removal of
aliens who undermine the safety of our nation’s communities and the integrity of U.S. immigration laws.
                Case 3:25-cv-04870-CRB        Document 77-1       Filed 06/16/25    Page 184 of 187
ICE 287(g) Program Map




287(g) Program Models
ICE Enforcement and Removal Operations operates three 287(g) models:

     The Jail Enforcement Model is designed to identify and process removable aliens — with criminal or pending
     criminal charges — who are arrested by state or local law enforcement agencies.
     The Task Force Model serves as a force multiplier for law enforcement agencies to enforce limited immigration
     authority with ICE oversight during their routine police duties.
     The Warrant Service Officer program allows ICE to train, certify and authorize state and local law enforcement
     officers to serve and execute administrative warrants on aliens in their agency’s jail.



How Can Your Agency Participate in the ICE 287(g)
Program?
On January 20, 2025, President Donald J. Trump issued Executive Order (EO) 14159, Protecting the American People
Against Invasion. This EO requires ICE to authorize State and local law enforcement officials, as the Secretary of
Homeland Security determines are qualified and appropriate, under section 287(g) of the Immigration and Nationality
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Act to the maximum extent permitted by law. Several states, including but not limited to Georgia and Florida, have
passed, or are considering, State legislation mandating law enforcement agencies (LEAs) seek out or enter into
memorandums of agreement (MOA) with ICE pursuant to a partnership under the 287(g) Program.

Participation in the 287(g) Program is limited to LEAs only. LEAs interested in participating in the 287(g) Program must
sign an MOA with ICE. LEAs will nominate officers to participate in the 287(g) Program. Nominees must possess U.S.
citizenship, complete and pass a background investigation, and have knowledge of and have enforced laws and
regulations related to law enforcement activities at their jurisdictions. Task Force Model nominees must also have at
least two (2) years of total sworn law enforcement officer experience. Nominees will receive training at the expense of
ICE related to the immigration duties pertinent to the applicable MOA.

LEAs interested in becoming a law enforcement partner under the 287(g) Program must submit a signed Letter of
Interest and signed MOA to ICE at ERO287g@ice.dhs.gov. These forms can be found below.

      WSO

            WSO Letter of Interest template
            WSO MOA (fillable)

      JEM

            JEM Letter of Interest Template
            JEM MOA (fillable)

      TFM

            TFM Letter of Interest Template
            TFM MOA (fillable)

If you have any questions about participating in the ICE 287(g) program, how to complete the necessary forms, what is
required, or would like additional information, please do not hesitate to email ERO287g@ice.dhs.gov; your inquiry will
be promptly answered within one business day.



FAQs
      287(g) Facts and Highlights
      287(g) Jail Enforcement Model Facts
      287(g) Task Force Model Facts
      287(g) Warrant Service Officer Facts



287(g) Participating Agencies
As of June 16, 2025, at 4 p.m., ICE has signed 701 Memorandums of Agreement for 287(g) programs covering 40 states.
These include JEM agreements with 110 law enforcement agencies in 27 states, 287(g) WSO agreements with 252 law
enforcement agencies in 33 states, and 287(g) TFM agreements with 339 agencies in 30 states.

   View 287(g) Participating Agencies
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287(g) Pending Agencies
As of June 16, 2025, at 4 p.m., ICE has 73 pending 287(g) program applications. These include 9 pending JEM
agreements, 27 pending WSO agreements, and 37 pending TFM agreements.

  View 287(g) Pending Agencies




Monthly 287(g) Encounter Reports


      FY 2025


         May 2025
         April 2025
         March 2025
         February 2025
         January 2025




      FY 2021


         January 2021
         December 2020
         November 2020
         October 2020




      FY 2020


         September 2020
         August 2020
         July 2020
         June 2020
         May 2020
         April 2020
         March 2020
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         January 2020
      December 2019
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      November 2019
      October 2019



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